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                 IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

 STATE OF UTAH, by and through its
 Governor, SPENCER J. COX,
 and its Attorney General, SEAN D.
 REYES, et al.,

                     Petitioners,
                                                  No. 23-1102
            v.

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY and MICHAEL S. REGAN,
 Administrator, U.S. EPA,

                     Respondents.

 STATE OF UTAH, by and through its
 Governor, SPENCER J. COX,
 and its Attorney General, SEAN D.
 REYES, et al.,

                     Petitioners,
                                                  No. 24-1040
            v.

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY and MICHAEL S. REGAN,
 Administrator, U.S. EPA,

                     Respondents.

 STATE OF OKLAHOMA, by and through
 its Attorney General, GENTNER F.
 DRUMMOND, et al.,
                                                  Nos. 24-1043
                     Petitioners,
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              v.

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY and MICHAEL S. REGAN,
 Administrator, U.S. EPA,

                       Respondents.

                 UTAH AND OKLAHOMA PETITIONERS’
               MOTION TO GOVERN FUTURE PROCEEDINGS

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      Petitioners the State of Utah, PacifiCorp, Deseret Generation & Transmission

Co-Operative, Utah Municipal Power Agency, and Utah Associated Municipal

Power Systems (“Utah Petitioners”); and State of Oklahoma, Oklahoma Department

of Environmental Quality, Oklahoma Gas & Electric Company, Tulsa Cement LLC,

Republic Paperboard, and Western Farmers Electric Cooperative (“Oklahoma

Petitioners”) file the following Motion in response to this Court’s Order dated

February 28, 2024 (Dkt. 2042800):

      Background. Petitioners are challenging EPA’s disapprovals of their

respective state’s state plans for implementing the Clean Air Act’s “Good Neighbor

Provision,” 42 U.S.C. § 7410(a)(2)(D)(i)(I), with respect to the 2015 ozone national

ambient air quality standards. They have been pursuing their primary challenges to

those plans in the Tenth Circuit. But after EPA moved to transfer or dismiss those

challenges based on venue, Petitioners also filed protectively in this Court to

preserve their right to judicial review.

      In an order issued on June 27, 2023, this Court held those protective petitions

in abeyance while the primary challenges proceeded in the Tenth Circuit. See Order,

No. 23-1102, Dkt. 2005201 (D.C. Cir. Jun. 27, 2023). In doing so, this Court rejected

EPA’s motion to expedite consideration of the protective petitions in this Court

while the primary regional challenges were pending. See id.




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      Petitioners proceeded to fully brief their challenges in the Tenth Circuit in two

sets of consolidated cases, one for the challenges to EPA’s disapproval of the Utah

state implementation plan and one for the challenges to EPA’s disapproval of the

Oklahoma state implementation plan. Then, on February 27, 2024, the Tenth Circuit

issued an opinion holding that venue was proper in this Court, not in the Tenth

Circuit. Oklahoma v. EPA, 93 F.4th 1262 (10th Cir. 2024). It accordingly transferred

the cases to this Court. Id.

      In light of that transfer, this Court requested that parties file motions to govern

future proceedings concerning the transferred cases as well as the protective

petitions that had been held in abeyance. See Order, Nos. 23-1102, 24-1040, 24-

1043, Dkt. 2042800 at 2. Meanwhile, on March 28, 2024, Petitioners petitioned the

U.S. Supreme Court for a writ of certiorari to review the Tenth Circuit’s transfer

decision, which conflicts with venue rulings from the Fourth, Fifth, Sixth, and Eighth

Circuits. See Exhibit A (Oklahoma v. EPA petition for writ of certiorari); Exhibit B

(PacifiCorp v. EPA petition for writ of certiorari).

                                     Motion to Govern

      A. Abeyance. This Court should continue to hold Petitioners’ consolidated

cases in Docket No. 23-1102 in abeyance for an additional 90 days, and also hold

the transferred cases in Docket Nos. 24-1040 and 24-1043 in abeyance, while the

Supreme Court decides whether to grant to the Petitioners’ petitions for writ of



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certiorari seeking review of the Tenth Circuit’s transfer order. Petitioners acted

expeditiously in seeking Supreme Court review. Although the deadline for filing the

petitions for writ of certiorari was May 27, 2024, Petitioners filed them nearly two

months early, on March 28, 2024. Petitioners filed their petitions two months early

to allow the Supreme Court to consider the petitions before its summer recess. That

will, in turn, allow the Supreme Court to adjudicate the petitions within this 90-day

period.

      Accordingly, holding these cases in abeyance for 90 days should allow this

Court to consider the next steps forward with considerably more clarity regarding

the venue issues. The parties can then file new motions to govern at that time in light

of the Supreme Court’s decision. If the Supreme Court grants review, then a longer

abeyance would clearly be in order. If the Supreme Court denies review, then it will

be clear that these cases should move forward.

      This short additional abeyance makes sense because the Supreme Court is

likely to grant review. As the Tenth Circuit acknowledged in its opinion, there is

now a division of authority on the venue question between the Tenth Circuit and

multiple other courts of appeals. Oklahoma, 93 F.4th at 1268 (“We recognize that

the Fourth, Fifth, and Sixth Circuits recently reached the contrary conclusion: each

denied the EPA’s motions to transfer petitions challenging the same final rule at

issue here.”); see also id. at 1268 n.7 (“The Eighth Circuit also denied the EPA’s



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transfer motions[.]”). That square circuit split clearly satisfies the Supreme Court’s

standard for granting review. See Sup. Ct. R. 10(a). Indeed, the Supreme Court

granted certiorari before judgment in an analogous case in National Association of

Manufacturers v. Department of Defense, 583 U.S. 109 (2018), where there was a

division of authority as to the proper court for adjudicating the legality of an

administrative rule defining the term “waters of the United States” under the Clean

Water Act, id. at 113-14. There is thus good reason to believe that the Supreme Court

will similarly grant Petitioners’ request that the Supreme Court review the Tenth

Circuit’s ruling.

      Moreover, disrupting the abeyance status quo would potentially waste the

parties’ and the Court’s resources on cases that may ultimately be decided elsewhere

if Petitioners prevail on their venue arguments at the Supreme Court. A short, 90-

day abeyance period would avoid that possibility.

      B. Consolidation. Petitioners oppose EPA’s request to consolidate all

remaining challenges apart from that of Nevada Cement’s protective filing (No. 23-

1115). There is no need for the Court to do anything—consolidation or otherwise—

if it continues to keep the cases abated as Petitioners request. The usual course in

that instance would be to maintain the status quo until the abeyance is lifted. That

would be the point at which to consider procedural issues like consolidation or

intervention.



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      In any event, consolidation would not make sense even when that abeyance is

lifted. The Utah and Oklahoma Petitioners’ separate challenges should proceed on a

state-specific basis due to the unique procedural posture and issues involved for each

state group. State implementation plans are by nature state specific. And the Tenth

Circuit consolidated the challenges on a state-specific basis and merits briefing was

completed separately for Utah Petitioners and Oklahoma Petitioners prior to transfer.

See Order, Oklahoma v. EPA, No. 23-9514, Doc. 010110866208 (10th Cir. May 30,

2023); Order, Utah v. EPA, No. 23-9509, Doc. 010110866083 (10th Cir. May 30,

2023). The Nevada challenges have never been briefed, and the Ninth Circuit has

retained jurisdiction over those challenges. This Court should retain the state-

specific approach that has dictated prior proceedings in these challenges.

      C. Briefing Schedule. Given the pending petitions for writ of certiorari and

Petitioners’ request for a 90-day abeyance, it is premature to propose a briefing

schedule. If the Supreme Court grants review, the Petitioners will request abeyance

pending the Supreme Court’s decision, and no briefing schedule will be necessary.

If the Supreme Court denies review, the parties can then propose a briefing schedule

for these cases.




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      DATED: March 29, 2024

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                      CERTIFICATE OF COMPLIANCE

       I hereby certify that this document complies with the format and word limit

 of Fed. R. App. P. 27(d)(1)-(2) because, excluding the parts of the document

 exempted by Fed. R. App. P. 32(f), this document contains 1,119 words. This

 document also complies with the typeface requirements of Fed. R. App. P.

 27(d)(1)(E) because this document has been prepared in a proportionally spaced

 typeface using Microsoft Word in 14-point font.

       DATED: March 29, 2024

                                            /s/ Megan Berge
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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of March, 2024, I filed the foregoing

 response with the Clerk of the Court using the CM/ECF System, which will send

 notice of such filing to all registered CM/ECF users.


       DATED: March 29, 2024

                                              /s/ Megan Berge
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                         Exhibit A
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                                           No.

               In the Supreme Court of the United States
               STATE OF OKLAHOMA, OKLAHOMA DEP’T OF ENVIRON-
               MENTAL QUALITY, AND STATE OF UTAH, PETITIONERS
                                            v.
                  ENVIRONMENTAL PROTECTION AGENCY, ET AL.,
                              RESPONDENTS

                         ON PETITION FOR WRIT OF CERTIORARI
                       TO THE UNITED STATES COURT OF APPEALS
                                FOR THE TENTH CIRCUIT

                     PETITION FOR WRIT OF CERTIORARI


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                                           Environmental Quality
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                                QUESTION PRESENTED
                   Under the Clean Air Act, each state must adopt an im-
              plementation plan to meet national standards, which EPA
              then reviews for compliance with the Act. See
              42 U.S.C. § 7410. In 2023, EPA published disapprovals of
              21 states’ plans implementing national ozone standards. It
              did so in a single Federal Register notice. The Act speci-
              fies that “[a] petition for review of the [EPA’s] action in
              approving or promulgating any implementation plan … or
              any other final action of the [EPA] under this Act … which
              is locally or regionally applicable may be filed only in” the
              appropriate regional circuit, while “nationally applicable
              regulations … may be filed only in” the D.C. Circuit. 42
              U.S.C. § 7607(b)(1). Parties from a dozen states sought ju-
              dicial review of their respective state plan disapprovals in
              their appropriate regional circuits.
                   The Fourth, Fifth, Sixth, and Eighth Circuits held
              that the implementation plan disapprovals of states within
              those circuits are appropriately challenged in their re-
              spective regional courts of appeals. In the decision below,
              the Tenth Circuit held that challenges to the disapprovals
              of Oklahoma’s and Utah’s plans can only be brought in the
              D.C. Circuit, explicitly disagreeing with the decisions of
              its sister circuits.
                   The question presented is:
                   Whether a final action by EPA taken pursuant to its
              Clean Air Act authority with respect to a single state or
              region may be challenged only in the D.C. Circuit because
              EPA published the action in the same Federal Register
              notice as actions affecting other states or regions and
              claimed to use a consistent analysis for all states.



                                           (i)
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                           PARTIES TO THE PROCEEDING
                 Petitioners filed separate petitions for review of sepa-
              rate agency action in the court of appeals. Petitioners the
              State of Oklahoma, by and through its Attorney General,
              and the Oklahoma Department of Environmental Quality
              challenged EPA’s disapproval of Oklahoma’s state imple-
              mentation plan. Petitioner the State of Utah, by and
              through its Governor, Spencer J. Cox, and its Attorney
              General, Sean D. Reyes, challenged EPA’s disapproval of
              Utah’s state implementation plan.
                 The Tenth Circuit procedurally consolidated Okla-
              homa’s challenge with petitions challenging the same
              agency action filed by Oklahoma Gas & Electric Com-
              pany, Tulsa Cement LLC, d/b/a/ Central Plains Cement
              Company LLC, Republic Paperboard Company, and
              Western Farmers Electric Cooperative.
                 The Tenth Circuit also procedurally consolidated
              Utah’s challenge with petitions challenging the same
              agency action filed by PacifiCorp and Utah Associated
              Municipal Power Systems.
                 Respondent the Environmental Protection Agency
              was the respondent in each challenge in the Tenth Circuit.




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                               RELATED PROCEEDINGS
                  1. This Petition arises out of separate petitions for re-
              view of agency action that Oklahoma and Utah filed in the
              court of appeals seeking review of EPA’s disapproval of
              their respective state implementation plans. See Okla-
              homa v. EPA, No. 23-9514 (10th Cir.); Utah v. EPA, No.
              23-9509 (10th Cir.).
                  2. On May 30, 2023, the Tenth Circuit procedurally
              consolidated Oklahoma’s and Utah’s petitions with re-
              lated challenges to the same agency action. Oklahoma’s
              petition was consolidated with petitions filed by Okla. Gas
              & Elec. Company, Tulsa Cement LLC, d/b/a/ Central
              Plains Cement Company LLC, Republic Paperboard
              Company, and Western Farmers Electric Cooperative.
              See Okla. Gas & Elec. v. EPA, No. 23-9521 (10th Cir.);
              Tulsa Cement LLC v. EPA, No. 23-9533 (10th Cir.); W.
              Famers Elec. Coop. v. EPA, No. 23-9534 (10th Cir.).
              Utah’s petition was consolidated with petitions filed by
              PacifiCorp and Utah Associated Municipal Power Sys-
              tems. See PacifiCorp v. EPA, No. 23-9512 (10th Cir.);
              Utah Assoc. Mun. Power Sys., No. 23-9520 (10th Cir.).
                  3. Because EPA sought to dismiss or transfer the
              above-referenced petitions filed in the Tenth Circuit, the
              Tenth Circuit petitioners also filed protective petitions in
              the D.C. Circuit. Utah v. EPA, No. 23-1102 (D.C.
              Cir.); Oklahoma v. EPA, No. 23-1103 (D.C. Cir.); Okla.
              Gas & Elec. Co. v. EPA, No. 23-1105 (D.C. Cir.); Tulsa
              Cement LLC v. EPA, No. 23-1106 (D.C. Cir.); W. Farmers
              Elec. Coop. v. EPA, No. 23-1107 (D.C. Cir.); PacifiCorp v.
              EPA, No. 23-1112 (D.C. Cir.).
                  4. On February 27, 2024, the Tenth Circuit transferred
              the challenges to the D.C. Circuit.


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                                    INTRODUCTION
                  Five courts of appeals are in direct and acknowledged
              conflict over an important and recurring federal question
              about how to interpret the Clean Air Act’s venue provi-
              sion, 42 U.S.C. § 7607(b)(1). States and industry from
              twelve states filed separate challenges to EPA’s disap-
              proval of their respective state’s ozone plan for imple-
              menting the Clean Air Act’s “Good Neighbor Provision.”
              42 U.S.C. § 7410(a)(2)(D)(i)(I). The Fourth, Fifth, Sixth,
              and Eighth Circuits held that venue for those challenges
              is appropriate in the regional federal courts of appeal.
              But, below, the Tenth Circuit explicitly departed from its
              sister circuits and held that exclusive venue for this type
              of challenge lies in the D.C. Circuit. Pet. App. 8a-19a. This
              Court’s review is needed to resolve the split.
                  The conflict centers on how to characterize the agency
              action being challenged. The Clean Air Act provides that
              challenges to “nationally applicable regulations” may “be
              filed only” in the D.C. Circuit. 42 U.S.C. § 7607(b)(1). But
              challenges to “locally or regionally applicable” actions
              “may be filed only in the United States Court of Appeals
              for the appropriate circuit.” Id. Under the statute, “EPA’s
              ‘action in approving or promulgating any implementation
              plan’ is the prototypical ‘locally or regionally applicable’
              action that may be challenged only in the appropriate re-
              gional court of appeals.” Am. Rd. & Transp. Builders
              Ass’n v. EPA, 705 F.3d 453, 455 (D.C. Cir. 2013) (Ka-
              vanaugh, J.) (quoting 42 U.S.C. § 7607(b)(1)).
                  The Tenth Circuit held that challenges to EPA’s dis-
              approvals of Oklahoma’s and Utah’s Good Neighbor plans

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              are challenges to a “nationally applicable action” because
              EPA combined those disapprovals with the disapprovals
              of 19 other states into a single Federal Register notice.
              Pet. App. 13a. The Fourth, Fifth, Sixth, and Eighth Cir-
              cuits reached the opposite conclusion in addressing other
              states’ plans—from Arkansas, Kentucky, Louisiana, Min-
              nesota, Mississippi, Missouri, Texas, and West Virginia—
              that were disapproved by EPA in the same 21-state Fed-
              eral Register notice. As the Fourth Circuit explained, the
              Clean Air Act does not elevate form over substance: “the
              fact that the EPA consolidated its disapprovals in a single
              final rule does not, by that fact alone, make its 21 separate
              decisions … a single nationally applicable action.” West
              Virginia v. EPA, 90 F.4th 323, 330 (4th Cir. 2024).
                  The confusion over the proper venue for challenges
              brought under the Clean Air Act imposes significant bur-
              dens on courts and litigants. This Court has repeatedly
              recognized the importance of clear jurisdictional and
              venue rules. E.g., Navarro Sav. Ass’n v. Lee, 446 U.S. 458,
              464 n.13 (1980). Confusion over where to file produces un-
              necessary “appeals and reversals” and “encourage[s]
              gamesmanship.” Hertz Corp. v. Friend, 559 U.S. 77, 94
              (2010).
                  This case demonstrates those concerns. Petitioners
              are being forced to litigate in the D.C. Circuit, while chal-
              lengers from ten other states continue to litigate in the
              regional circuits. If this Court waits until final judgment
              to resolve this question, party and judicial resources will
              necessarily be wasted: either Petitioners will be required
              to re-litigate (and courts will have to re-adjudicate) in the
              Tenth Circuit, or parties in ten other states will be
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              compelled to do the same in the D.C. Circuit. Review now,
              before judgment, is therefore justified, as this Court has
              previously recognized. See Nat’l Ass’n of Mfrs. v. Dep’t of
              Def., 583 U.S. 109, 119 (2018) (granting certiorari before
              judgment to resolve dispute about which court should re-
              view challenges under the Clean Water Act).
                  Moreover, absent this Court’s guidance, venue dis-
              putes under the Clean Air Act will continue to recur fre-
              quently. States must submit new implementation plans
              every time EPA establishes new national standards for
              any given air pollutant—standards EPA reviews every
              five years. 42 U.S.C. § 7409(d)(1), 7410(a)(1). Challenges
              of the kind brought here are therefore common. Mean-
              while, venue questions arise in other Clean Air Act con-
              texts, too, which has led to other circuit splits. And given
              the immense role of this cooperative federalism statute,
              these Clean Air Act cases often involve issues of tremen-
              dous importance to states, the economy, critical national
              industries, and the public. Repeated and protracted dis-
              putes about venue only delay their resolution.
                  This Court should grant review to end the division
              among courts of appeals and the uncertainty over how to
              interpret the Clean Air Act’s venue provision.
                                   OPINION BELOW
                  The decision of the court of appeals (Pet. App.1a-19a)
              is was selected for publication and is available at Okla-
              homa v. EPA, 93 F.4th 1262 (10th Cir. 2024).
                                    JURISDICTION
                 This petition is filed under Rule 11 of this Court. The
              order transferring venue sought to be reviewed was
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              entered by the Tenth Circuit on February 27, 2024. This
              Court has jurisdiction to review on a writ of certiorari the
              order below under 28 U.S.C. §§ 1254(1) and 2101(e).
                         STATUTORY PROVISIONS INVOLVED
                 The text of 42 U.S.C. §§ 7410 and 7607(b)(1) is repro-
              duced in the appendix to this petition.
                              STATEMENT OF THE CASE
                 A. Statutory Background
                  1. The Clean Air Act centers around the “‘core princi-
              ple’ of cooperative federalism.” EPA v. EME Homer City
              Generation, L.P., 572 U.S. 489, 511 n.14 (2014). It does so
              by delegating some regulatory responsibilities to EPA
              and others to individual states.
                  The Act delegates to EPA authority to establish
              standards that apply nationwide, such as the National
              Ambient Air Quality Standards (“NAAQS”). 42 U.S.C.
              § 7409(a)-(b). Meanwhile, the Act gives each state the au-
              thority to “implement[], maint[ain], and enforce[]” these
              standards through state implementation plans based on
              state-specific considerations. Id. § 7410(a); see also Train
              v. Nat. Res. Def. Council, Inc., 421 U.S. 60, 79 (1975)
              (“[S]o long as the ultimate effect of a State’s choice of
              emission limitations is compliance with the national stand-
              ards for ambient air, the State is at liberty to adopt what-
              ever mix of emission limitations it deems best suited to its
              particular situation.”). States thereby assume “primary
              responsibility for assuring air quality within … such State
              by submitting an implementation plan for such State


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              which will specify the manner in which [the NAAQS] will
              be achieved and maintained.” 42 U.S.C. § 7407(a).
                  The state implementation plan process involves a
              back-and-forth between EPA and the individual State.
              “Each State shall … adopt and submit” to EPA a state
              implementation       plan     for    “such      State.”    Id.
              § 7410(a)(1). EPA then “shall approve” the plan “if it
              meets all of the applicable requirements of” the Act. Id.
              § 7410(k)(3). “The mandatory ‘shall’ makes it quite clear
              that the Administrator is not to be concerned with factors
              other than those specified.” Union Elec. Co. v. EPA, 427
              U.S. 246, 257 (1976). This means that EPA has “no au-
              thority to question the wisdom of a State’s choices” in de-
              veloping a state plan. Train, 421 U.S. at 79; see also Union
              Elec. Co., 427 U.S. at 269 (Congress delegated to states,
              not EPA, the power to make “legislative choices in regu-
              lating air pollution.”). But if EPA validly “finds that a
              State has failed to … satisfy the minimum criteria” of the
              Act, it may promulgate a federal implementation plan for
              that state. 42 U.S.C. § 7410(c)(1).
                  2. The Clean Air Act provides for judicial review of
              EPA’s actions under the Act, vesting original jurisdiction
              in the court of appeals. See id. § 7607(b)(1). It then divides
              venue, depending on the EPA action challenged, between
              the regional courts of appeals and the U.S. Court of Ap-
              peals for the District of Columbia Circuit. Id.
                  The Act provides for review in the regional circuits of
              actions under “several specifically enumerated provisions
              of the Act,” Harrison v. PPG Indus., Inc., 446 U.S. 578,
              584 (1980), including any EPA action “in approving or
              promulgating any implementation plan under section
                                            5
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              7410 of this title,” 42 U.S.C. § 7607(b)(1). In 1977, Con-
              gress added to that list a catch-all: also reviewable in the
              regional federal appellate courts are “any other final ac-
              tion of the Administrator under [the] Act which is locally
              or regionally applicable.” Harrison, 446 U.S. at 584-85
              (quoting 42 U.S.C. § 7607(b)(1)).
                  Meanwhile, the Act states that challenges to certain
              other EPA actions “may be filed only in the United States
              Court of Appeals for the District of Columbia.” 42 U.S.C.
              § 7407(b)(1). This list includes EPA actions such as
              “promulgating any national primary or secondary ambi-
              ent air quality standard,” “any emission standard,” “any
              standard of performance,” or “any other nationally appli-
              cable regulations.” Id. Finally, even for actions that must
              otherwise be filed in a regional circuit, challenges to those
              actions “may be filed only in the [D.C. Circuit] if such ac-
              tion is based on a determination of nationwide scope or
              effect and if in taking such action the Administrator finds
              and publishes that such action is based on such a determi-
              nation.” Id.
                 B. Procedural History
                  1. In 2015, EPA revised the NAAQS for ozone, lower-
              ing the national air quality standard from 75 to 70 parts
              per billion. 80 Fed. Reg. 65,292, 65,293-94 (Oct. 26, 2015).
              This triggered the responsibility for each state to develop
              an implementation plan for the revised NAAQS. See 42
              U.S.C. § 7410(a)(1). One aspect of a state plan is demon-
              strating compliance with the Act’s “Good Neighbor Provi-
              sion,” which delegates to each state the task of ensuring
              no “emissions activity within the State” will emit “in

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              amounts which will … contribute significantly to nonat-
              tainment,” or “interfere with maintenance,” of the
              NAAQS by “any other State.” Id. § 7410(a)(2)(D)(i)(I).
              States accordingly developed and submitted to EPA their
              respective implementation plans to demonstrate compli-
              ance with the revised ozone NAAQS, including the Good
              Neighbor Provision. In developing these plans, states
              worked in close coordination with EPA’s Regional Offices.
              See, e.g., No. 23-9514, J.A.424-26 (correspondence be-
              tween EPA’s Region 6 Office and Oklahoma regarding
              Oklahoma’s draft Good Neighbor plan); No. 23-9509,
              J.A.0069-73 (correspondence between EPA’s Region 8 Of-
              fice and Utah regarding Utah’s plan).1
                   Throughout 2022, EPA proposed to disapprove the
              state Good Neighbor plans for 23 states. EPA published
              the proposed disapprovals in separate Federal Register
              notices, each covering a state or group of states within a
              single EPA Region. See, e.g., 87 Fed. Reg. 9,798 (Feb. 22,
              2022) (proposed state plan disapproval for Arkansas, Lou-
              isiana, Oklahoma, Texas); 87 Fed. Reg. 31,470 (May 24,
              2022) (proposed state plan disapproval for Utah). In the
              proposed rulemakings, EPA purported to detail why each
              state’s plan should be disapproved, individually examining
              each state’s specific submission, emissions sources and
              trends, and downwind air quality contributions. See

              1
                These citations are to the joint appendices filed in the court of ap-
              peals. The joint appendix (Dkt. No. 11041131) on the Oklahoma
              docket (No. 23-9514) was filed on November 1, 2023. The joint ap-
              pendix (Dkt. No. 11037455) on the Utah docket (No. 23-9509) was
              filed on October 17, 2023.

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              generally id. In response, each state, and often regulated
              industries within each state, submitted comments to the
              proposed disapprovals demonstrating why the state’s par-
              ticular circumstances showed the state’s plan was factu-
              ally, analytically, and legally justified. See, e.g., No. 23-
              9514, J.A.389-404 (Oklahoma comment letter on EPA’s
              proposed Oklahoma state plan disapproval); No. 23-9509,
              J.A.0145-48 (Utah comment letter on EPA’s proposed
              Utah state plan disapproval); and J.A.0149-357 (Utah in-
              dustry comment letters).
                  EPA nonetheless finalized the disapproval of 21 state
              Good Neighbor plans, but it did so in a single Federal Reg-
              ister notice. 88 Fed. Reg. 9,336 (Feb. 13, 2023). EPA’s
              state-by-state justification for disapproving each of these
              plans relied almost entirely on its assessment of the indi-
              vidual state plans in its proposed disapprovals. See, e.g.,
              id. at 9,354-61.2
                  2. A mix of states and industry parties in 12 states
              challenged their respective state-plan disapprovals in
              their regional circuits.3 In each of those regional courts of

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               EPA has recently proposed to disapprove the state plans of five
              additional states. 89 Fed. Reg. 12,666 (Feb. 16, 2024) (proposed dis-
              approval of state plans of Arizona, Iowa, Kansas, New Mexico, and
              Tennessee).
              3
                See West Virginia v. EPA, No. 23-1418 (4th Cir.); Texas v. EPA,
              No. 23-60069 (5th Cir.) (Texas, Louisiana, and Mississippi); Ken-
              tucky v. EPA, No. 23-3216 (6th Cir.); Arkansas v. EPA, No. 23-1320
              (8th Cir.); Missouri v. EPA, No. 23-1719 (8th Cir.); Allete, Inc. v.
              EPA, No. 23-1776 (8th Cir.) (Minnesota); Nevada Cement Co. v.
              EPA, No. 23-682 (9th Cir.) (Nevada); Oklahoma v. EPA, No. 23-

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              appeals, EPA filed motions to dismiss or transfer venue,
              arguing that its state plan disapprovals were either “na-
              tionally applicable regulations” or “based on a determina-
              tion of nationwide scope or effect,” such that review is only
              appropriate in the D.C. Circuit under the Act’s judicial re-
              view provision (42 U.S.C. § 7607(b)(1)). E.g. Mot. to
              Transfer, No. 23-9514, Dkt. No. 10983947 (10th Cir. Mar.
              16, 2023); Mot. to Transfer, No. 23-9509, Dkt. No.
              10983793 (10th Cir. Mar. 16, 2023). Until the decision be-
              low was issued, each of the regional circuits declined to
              grant EPA’s motion to transfer venue.
                  The Fourth Circuit, in a published decision, denied
              EPA’s motion to transfer, holding that review of West
              Virginia’s challenge to its state plan disapproval was ap-
              propriate in that regional court of appeals instead of the
              D.C. Circuit. West Virginia, 90 F.4th 323. In an opinion
              by Judge Niemeyer, the court ruled that EPA’s disap-
              proval of West Virginia’s plan was not “nationally applica-
              ble,” noting that the “focus [is] on the geographical reach
              of the EPA’s action”—which, in that case, was EPA’s dis-
              approval of a plan for West Virginia. Id. at 328. It rejected
              EPA’s argument that “because [EPA] disapproved of the
              [state plans] of 21 States in a consolidated, single agency
              action, its determination that the West Virginia [plan] was
              inadequate somehow became national,” reasoning that
              EPA’s consolidated notice merely “throws a blanket la-
              beled ‘national’ over 21 individual decisions rejecting 21


              9514 (10th Cir.); Utah v. EPA, No. 23-9509 (10th Cir.); Alabama v.
              EPA, No. 23-11173 (11th Cir.).

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              separate States’ [plans] in an effort to convert each unique
              state decision into a national one.” Id. at 330.
                   “The Clean Air Act,” the Fourth Circuit explained,
              “instructs that ‘[e]ach State’ shall submit a [state plan] im-
              plementing the air quality standards” and “following each
              State’s submission, the EPA approves or disapproves of
              each State’s ‘plan’—using the word ‘plan’ in the singular
              to indicate that the agency acts on each plan.” Id. (quoting
              42 U.S.C. § 7410(a)(1), (k)(1)-(3)). “Thus, the relevant
              agency action for our review here is the EPA’s disap-
              proval of West Virginia’s [state plan].” Id. EPA’s action
              on West Virginia’s plan was also not “based on a determi-
              nation of nationwide scope or effect” because in “rejecting
              West Virginia’s [plan], it is clear that the EPA focused on
              factual data localized to West Virginia and two downwind
              States ‘linked’ to West Virginia” and “rejected West Vir-
              ginia’s analysis of those factual circumstances.” Id. at 328.
              That EPA applied a “nationally consistent approach” to
              all state plans does not transform its action into a national
              regulation, otherwise “there never could be a local or re-
              gional action … because every action of the EPA purport-
              edly applies a national standard created by the national
              statute and its national regulations.” Id. at 329-30. Judge
              Quattlebaum joined Judge Niemeyer’s opinion, but Judge
              Thacker dissented, stating that, in her view, “the Final
              Rule is clearly nationally applicable.” Id. at 332.
                   The Fifth Circuit, like the Fourth, held that it was the
              proper venue for the challenges filed by Texas, Louisiana,
              and Mississippi to their respective plan disapprovals.
              Texas v. EPA, No. 23-60069, 2023 WL 7204840, at *3-6
              (5th Cir. May 1, 2023). Here again, the court of appeals
                                           10
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              focused on the text of the Clean Air Act: the Act “makes
              clear that the EPA’s relevant actions for purposes of the
              present litigation are its various [state plan] denials.” Id.
              at *4. So while “the EPA packaged these disapprovals to-
              gether with the disapprovals of eighteen other States … ,
              the EPA’s chosen method of publishing an action isn’t con-
              trolling.” Id. “What controls is the [Act]” and the Act “is
              very clear: The relevant unit of administrative action here
              is the EPA’s individual SIP denials” and, in fact, “the EPA
              separately considered and disapproved Texas’s [plan],
              Louisiana’s [plan], and Mississippi’s [plan].” Id.
                  Having determined the relevant EPA action at issue,
              the Fifth Circuit had no trouble concluding venue was ap-
              propriate in that regional circuit, not the D.C. Circuit.
              “[T]he ‘legal impact’ of the three [state plan] disapprovals
              is plainly local or regional” given that they “involve only
              the regulation of Texas, Louisiana, and Mississippi emis-
              sion sources and have legal consequences only for Texas,
              Louisiana, and Mississippi facilities.” Id. at *5. They are
              therefore not nationally applicable actions where review
              is only appropriate in the D.C. Circuit. Id. Nor are the ac-
              tions challenged in that case, the Fifth Circuit held,
              “based on a determination of nationwide scope or effect”
              because EPA’s decisions “were plainly based on a number
              of intensely factual determinations unique to each State.”
              Id. (citation and internal marks omitted). Judge Douglas
              dissented from the per curiam opinion because she be-
              lieved EPA’s action was “nationally applicable on its face”
              and “was based on a determination of ‘nationwide scope
              or effect.’” Id. at *11.

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                  The Sixth Circuit ruled in accord with the Fourth and
              Fifth, holding that transfer of Kentucky’s challenge to its
              state plan disapproval to the D.C. Circuit was not war-
              ranted. Kentucky v. EPA, No. 23-3216, slip op. at 2-6 (6th
              Cir. July 25, 2023). Relying on the Fifth Circuit’s analysis
              of the text of the Act, the Sixth Circuit started by conclud-
              ing that the relevant “final action” is “EPA’s denial of
              Kentucky’s” plan. Id. at 4. The Sixth Circuit next ex-
              plained that “State Implementation Plans, by their very
              nature, concern each State’s plan” and “[b]ecause the de-
              nial and legal impact of Kentucky’s [plan] affects only
              Kentucky—that is, it does not concern the nation, let
              alone any other state—the final action is ‘locally or region-
              ally applicable.’” Id. at 5. And the court rejected EPA’s
              claim that its determination was one based on nationwide
              scope or effect because “EPA’s disapproval here was
              based on a number of intensely factual determinations
              unique to Kentucky.” Id. at 5-6 (citation and internal
              marks omitted). Judge Cole dissented from the decision
              of Judges McKeague and Nalbandian because he believed
              EPA’s act was “based on a determination of nationwide
              scope or effect,” without opining on whether it was also
              “nationally applicable.” Id. at 10-21.
                  The Eighth Circuit, in separate orders unaccompanied
              by an opinion and without dissent, also denied EPA’s mo-
              tion to transfer challenges to Arkansas’s, Missouri’s, and
              Minnesota’s state plan disapprovals. Order, Arkansas v.
              EPA, No. 23-1320, Dkt. No. 5269098 (8th Cir. April 25,
              2023); Order, Missouri v. EPA, No. 23-1719, Dkt. No.
              5281126 (8th Cir. May 26, 2023); Order, Allete, Inc. v.
              EPA, No. 23-1776, Dkt. No. 5281229 (8th Cir. May 26,
                                           12
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              2023). Meanwhile, motions panels in the Ninth, Tenth, and
              Eleventh Circuits deferred decision on EPA’s motions to
              transfer to a later merits panel in challenges to the state
              plan disapprovals of Nevada, Oklahoma, Utah, and Ala-
              bama. Order, Nevada Cement Co. v. EPA, No. 23-682,
              Dkt. No. 27 (9th Cir. July 3, 2023); Order, Utah v. EPA,
              No. 23-9509, Dkt. No. 10994985 (10th Cir. April 27, 2023);
              Order, Alabama v. EPA, No. 23-11173, Dkt. No. 24 (11th
              Cir. July 12, 2023).
                 C. Decision Below
                   Splitting with its sister circuits, the Tenth Circuit mer-
              its panel published an opinion ruling that EPA’s disap-
              provals of the Utah and Oklahoma state plans were “na-
              tionally applicable” and ordered the cases transferred to
              the D.C. Circuit. Pet. App. 12a-19a. The court below jus-
              tified this conclusion by stating “Petitioners seek review
              of a final rule disapproving [state plans] from 21 states
              across the country—spanning eight EPA regions and ten
              federal judicial circuits—because those states all failed to
              comply with the good-neighbor provision.” Pet. App. 12a.
              “And,” the Tenth Circuit continued, “in promulgating that
              rule, the EPA applied a uniform statutory interpretation
              and common analytical methods, which required the
              agency to examine the overlapping and interwoven link-
              ages between upwind and downwind states in a consistent
              manner.” Pet. App. 12a-13a.
                   In so ruling, the Tenth Circuit “recognize[d] that the
              Fourth, Fifth, and Sixth Circuits recently reached the
              contrary conclusion: each denied the EPA’s motions to
              transfer petitions challenging the same final rule at issue

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              here”— also acknowledging in a footnote that the Eighth
              Circuit also reached the contrary conclusion. Pet. App.
              17a. The court below believed that “all three courts
              strayed” from the statute’s text and, “because the Fourth,
              Fifth, and Sixth Circuit decisions denying the EPA’s
              transfer motions all depart from [the Act’s] plain text and
              our binding precedent, we decline to follow them.” Pet.
              App. 19a.
                       REASONS FOR GRANTING THE PETITION
                  This Court should grant review of the decision below
              because it directly conflicts with the rulings of the Fourth,
              Fifth, Sixth, and Eighth Circuits on an important and re-
              curring federal question about the appropriate venue for
              challenges to EPA actions under the Clean Air Act. The
              disagreement among the courts of appeals presented by
              this case is exceptionally clear; it was explicitly acknowl-
              edged by the court below. Moreover, the issue of venue
              for Clean Air Act challenges is of immense importance to
              states, the federal government, industry, and the public,
              and will continue to arise frequently in cases that extend
              well beyond the Good Neighbor Provision. The Court
              should decide this question now, before seven courts of
              appeals are required to reach merits decisions in this and
              related cases concerning the plans of a dozen (or more)
              states without knowing the Court’s judgment on the ap-
              propriate venue for these cases.




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              I. The Tenth Circuit’s decision below explicitly
                 conflicts with the decisions of several other courts
                 of appeal.
                  Certiorari is warranted because, in the ruling below,
              the Tenth Circuit entered a decision in conflict with four
              other federal courts of appeals on an important issue. The
              Tenth Circuit’s ruling squarely splits with both the result
              and reasoning of decisions by the Fourth, Fifth, Sixth, and
              Eighth Circuits.
                  Start with the result of the Tenth Circuit’s decision.
              The court below ruled that EPA’s disapprovals of Okla-
              homa’s and Utah’s plans, which were published in the
              same Federal Register notice as 19 other states’ disap-
              provals, could be reviewed only in the D.C. Circuit. Pet.
              App. 19a. Meanwhile, the Fourth, Fifth, Sixth, and Eighth
              Circuits—which are reviewing the disapprovals of other
              states’ plans contained in the same Federal Register no-
              tice—have denied EPA’s motion to transfer those cases to
              the D.C. Circuit. Neither the court below nor EPA have
              suggested that, for purposes of venue, anything distin-
              guishes the disapprovals of Oklahoma’s and Utah’s plans
              from the disapprovals of the other states’ ozone Good
              Neighbor plans being reviewed in the regional circuits.
              The conflict among courts of appeals is as clean as can be.
                  The reasoning of the court below also openly splits
              with reasoning embraced by the other circuits. The courts
              of appeals are divided in their rationales in at least two
              respects.
                  First, the Tenth Circuit believed “the nature of the
              agency’s final action” being challenged was “a final rule

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              disapproving [state plans] from 21 states across the coun-
              try—spanning eight EPA regions and ten federal judicial
              circuits.” Pet. App. 12a-13a. In contrast, the Fourth Cir-
              cuit held “the relevant agency action for our review here
              is the EPA’s disapproval of West Virginia’s [implementa-
              tion plan].” West Virginia, 90 F.4th at 330. The Fourth
              Circuit rejected EPA’s attempt, adopted by the Tenth
              Circuit, to “throw[] a blanket labeled ‘national’ over 21 in-
              dividual decisions rejecting 21 separate States’ [plans] in
              an effort to convert each unique state decision into a na-
              tional one.” Id. So, “the fact that the EPA consolidated its
              disapprovals in a single final rule does not, by that fact
              alone, make its 21 separate decisions included within its
              final rule … a single nationally applicable action.” Id.
                  The Fifth Circuit similarly considered the issue of
              what “the relevant ‘action’ is for purposes of § 7607(b)(1)”
              and ruled “the [Clean Air Act] makes clear that the EPA’s
              relevant actions for purposes of the present litigation are
              its various [state plan] denials.” Texas, 2023 WL 7204840,
              at *3. The Fifth Circuit acknowledged that, “[y]es, the
              EPA packaged these disapprovals together with the dis-
              approvals of eighteen other States,” but the court held
              that “the EPA’s chosen method of publishing an action
              isn’t controlling.” Id. at *4. “What controls is the [Act]”
              and “the [Act] is very clear: The relevant unit of adminis-
              trative action here is the EPA’s individual [state plan] de-
              nials.” Id. The Sixth Circuit adopted the reasoning of the
              Fifth Circuit in reaching the same conclusion. Kentucky,
              supra, slip op. at 3-4.
                  This dispute arises because the Tenth Circuit inter-
              prets the text of the Clean Air Act differently than the
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              other courts of appeals. The Tenth Circuit believed that
              the Federal Register notice containing the disapprovals of
              21 state plans was the relevant unit of analysis because
              the Act’s judicial review provision speaks of a “final ac-
              tion.” Pet. App. 13a (quoting 42 U.S.C. § 7607(b)(1)). The
              court then chided the Fourth, Fifth, and Sixth’s Circuits
              from having “strayed” and “depart[ed] from § 7607(b)(1)’s
              plain text.” Pet. App. 17a, 19a.
                   But for those other courts, the Tenth Circuit’s invoca-
              tion of the words “final action” merely begs the question;
              “[t]he relevant unit of administrative action” still must be
              determined. Texas, 2023 WL 7204840, at *4. That deter-
              mination is governed by statute, namely, the provisions
              providing “the legal source of the agency’s (here the
              EPA’s) authority to take the challenged actions (here the
              [state plan] denials).” Id.; contra Pet. App. 16a n.6
              (“Whether an EPA action is nationally applicable does not
              turn on the ‘type’ of statutory authority delegated to the
              agency.”). With respect to state implementation plans, the
              Fifth Circuit wrote, the statute speaks in terms of state
              and EPA action for “each State” and “the State.” Texas,
              2023 WL 7204840, at *4 (quoting 42 U.S.C. § 7410(a),
              (k)(3)). And because EPA’s action on a single state’s plan
              is indisputably local or regional, not national, venue is ap-
              propriate in the regional circuit. Id. The Fourth and Sixth
              Circuits concurred in a similar textual analysis as the
              Fifth. West Virginia, 90 F.4th at 330 (“[T]he relevant
              agency action for our review here is the EPA’s disap-
              proval of West Virginia’s [state plan].”); Kentucky, supra,
              slip op. at 3-4 (explaining that the important question is
              “determining what ‘final action’ we are dealing with” and
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              concluding that the answer is “EPA’s disapproval of each
              state’s [implementation plan]”).
                  Second, the Tenth Circuit held that EPA’s disapprov-
              als were “nationally applicable” because “EPA applied a
              uniform statutory interpretation and common analytical
              methods, which required the agency to examine the over-
              lapping and interwoven linkages between upwind and
              downwind states in a consistent manner.” Pet. App. 12a-
              13a. The Fourth Circuit rejected precisely that reasoning:
              “While national standards — imposed by the statute, reg-
              ulations, and practices — were indeed applied to reject
              West Virginia’s [state plan], the venue provision of the
              Clean Air Act does not focus on whether national stand-
              ards were applied.” West Virginia, 90 F.4th at 329. “If ap-
              plication of a national standard to disapprove a plan were
              the controlling factor,” the Fourth Circuit explained,
              “there never could be a local or regional action as recog-
              nized by the Clean Air Act because every action of the
              EPA purportedly applies a national standard created by
              the national statute and its national regulations.” Id. at
              329-30; see also id. at 328 (explaining that “the venue issue
              [does not] turn[] on whether a national rule or standard
              was applied to make the determination” because that
              would mean “there could be no local or regional action”).
              Instead, the Fourth Circuit pointed to EPA’s state-spe-
              cific disapproval, where “EPA focused on factual data lo-
              calized to West Virginia” and EPA’s rejection of “West
              Virginia’s analysis of those factual circumstances.” Id. at
              328. The Fifth and Sixth Circuits are in accord with the
              Fourth’s approach here, too. Texas, 2023 WL 7204840, at
              *5 & n.5; Kentucky, supra, slip op. at 5-6.
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                   In short, the Tenth Circuit has squarely split with the
              Fourth, Fifth, Sixth, and Eighth Circuits on both what the
              appropriate venue is for these state plan disapproval chal-
              lenges and how that analysis should be conducted. The de-
              cision below openly acknowledges the conflict, “recog-
              niz[ing] that the Fourth, Fifth, and Sixth Circuits recently
              reached the contrary conclusion.” This irreconcilable con-
              flict among the courts of appeals requires this Court’s res-
              olution.4
              II. The question of the appropriate venue for
                  challenges under the Clean Air Act is ripe for
                  review, important, and frequently recurring.
                  A. Certiorari before judgment is warranted to resolve
              the split on venue “because of the importance of determin-
              ing the locus of judicial review of the actions of EPA [un-
              der the Clean Air Act].” Harrison, 446 U.S. at 586 (grant-
              ing certiorari review before final judgment); see also Sup.
              Ct. R. 11. Waiting until the D.C. Circuit decides the merits
              of this case will not impact the venue question, while delay
              will only result in needless expenditure of state, federal,
              industry, and court resources to litigate one or more cases
              in the incorrect venue.
                  This Court has previously granted certiorari before
              judgment when “[u]ncertainty surrounding the scope of

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               While the Tenth Circuit mentioned the Eighth Circuit’s decision
              only in passing, Pet. App. 17a n.7, the Eighth Circuit, by denying
              EPA’s motion to change venue, also necessarily disagreed with the
              Tenth Circuit’s decision that venue is appropriate only in the D.C.
              Circuit because the challenged agency action is “nationally applica-
              ble.”

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              [an] Act’s judicial-review provision” has divided courts
              and led to duplicative litigation. Nat’l Ass’n of Mfrs., 583
              U.S. at 119. In that case, the Sixth Circuit held it had ju-
              risdiction to review suits brought under the Clean Water
              Act, but a single district court with a suit before it chal-
              lenging the same rulemaking disagreed. Id. This Court
              resolved the confusion without waiting for the parallel lit-
              igation that had been proceeding across the country to
              reach final judgments.
                  Here, the split is not only more pronounced, but the
              need for immediate review is even greater given the pos-
              ture of this case and the numerous courts of appeals with
              state Good Neighbor plan challenges before them. Peti-
              tioners here have already fully briefed the merits of their
              claims before the Tenth Circuit. If this Court declines re-
              view, the parties may engage in further briefing in the
              D.C. Circuit, expending the public funds of both state and
              federal governments. Oral argument and the deci-
              sionmaking process will also consume valuable litigant
              and court resources. If this Court were to ultimately de-
              termine that the Tenth Circuit should have retained
              venue, the delay and duplicated effort from merits adjudi-
              cation in the D.C. Circuit would be unnecessary.
                  And, of course, if this Court determines that exclusive
              venue lies in the D.C. Circuit, then the ten challenges cur-
              rently being litigated in the Fourth, Fifth, Sixth, Eighth,
              Ninth, and Eleventh Circuits would likewise be for
              naught. Review now would serve public policy and con-
              serve judicial and party resources, instead of subjecting
              the states and EPA “to long and complex litigation which
              may all be for naught if consideration of the preliminary
                                          20
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              question of venue is postponed until the conclusion of the
              proceedings.” Mercantile Nat’l Bank v. Langdeau, 371
              U.S. 555, 558 (1963).
                    Nor would further delay “help[] to explain and formu-
              late the underlying principles this Court … must con-
              sider.” Obergefell v. Hodges, 135 S.Ct. 2584, 2597 (2015).
              “[Venue] is a separate and independent matter, anterior
              to the merits and not enmeshed in the factual and legal
              issues comprising the [states’ petitions for review].” Mer-
              cantile Nat’l Bank, 371 U.S. at 558. It is unlikely that the
              D.C. Circuit would reconsider the venue question after
              transfer. See Christianson v. Colt Indus. Operating
              Corp., 486 U.S. 800, 816 (1988) (“[T]he policies supporting
              the [law of the case] doctrine apply with even greater
              force to transfer decisions than to decisions of substantive
              law; transferee courts that feel entirely free to revisit
              transfer decisions of a coordinate court threaten to send
              litigants into a vicious circle of litigation.”). And five cir-
              cuits have already considered the question presented.
              This petition therefore presents a clean, well-developed,
              and fulsome split, ready for review.
                   In short, additional delay would produce no benefits,
              but it would result in unnecessary delays and tremendous
              wasted effort. This Court should grant review now rather
              than subject litigants, courts, and the public to those costs.
                   B. The Court should also grant review because venue
              questions arise frequently in the context of important
              Clean Air Act disputes. Such disputes include the cur-
              rent voluminous litigation over state Good Neighbor
              plans, other disputes about state plan approvals and

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              disapprovals, and still other disputes under the Clean Air
              Act.
                  First, a determination from this Court on the appro-
              priate venue will provide definitive resolution to venue
              questions being litigated in multiple circuits. Answering
              the question presented will not merely resolve the dis-
              pute over the proper venue for separate challenges
              brought by Oklahoma and Utah to EPA’s plan disap-
              proval for each state, it will also resolve disputed ques-
              tions of venue still ongoing in the related Ninth and Elev-
              enth Circuit cases. Nevada Cement Co. v. EPA, No. 23-
              682, Dkt. No. 27 (9th Cir. July 3, 2023) (referring venue
              dispute to merits panel); Order, Alabama v. EPA, No.
              23-11173, Dkt. No. 24 (11th Cir. July 12, 2023) (same).
              And it will confirm (or reject) the decisions to retain
              venue in the Fourth, Fifth, Sixth, and Eighth Circuits.
                  Absent this Court’s intervention, an irreconcilable le-
              gal incongruity will persist: Oklahoma and Utah will be
              forced to litigate issues relating to their state-specific
              emissions and ozone contributions in the D.C. Circuit,
              while other states are litigating their local ozone issues
              in their regional circuits. Given the massive effect of
              EPA cross-state ozone regulation on local economies,
              these disputes are too important to be litigated amidst
              such a legal haze. See Texas, 2023 WL 7204840, at *10
              (explaining the “billions of dollars in compliance costs”
              and harms to electric grid reliability imposed by EPA’s
              proposed ozone Good Neighbor rulemakings); West Vir-
              ginia, 90 F.4th at 331 (explaining burden on state regu-
              lators and consumers of EPA’s Good Neighbor rule-
              makings).
                                          22
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                  Granting certiorari would also resolve ongoing dis-
              putes about the venue provision’s savings clause, which
              directs to the D.C. Circuit review of EPA actions, includ-
              ing those locally and regionally applicable, that are
              “based on a determination of nationwide scope or effect.”
              42 U.S.C. § 7607(b)(1). The Tenth Circuit did not “ad-
              dress EPA’s alternative argument that the petitions be-
              long in the D.C. Circuit even if the final action is ‘locally
              or regionally applicable’ because it ‘is based on a deter-
              mination of nationwide scope or effect’ made and pub-
              lished by the EPA.” Pet. App. 19a n.8 (quoting
              § 7607(b)(1)). But the Fourth, Fifth, and Sixth Circuits
              all directly rejected that argument. See Texas, 2023 WL
              7204840, at *5 (holding that because the state plan disap-
              provals were based on “intensely factual determina-
              tions,” they were not based on a determination of nation-
              wide scope or effect); accord West Virginia, 90 F.4th at
              330; Kentucky, No. 23-3216, slip op. at 5-6. Meanwhile,
              dissenting judges in the Fifth and Sixth Circuits disa-
              greed and would have transferred the cases to the D.C.
              Circuit, arguing that EPA’s actions were based on a de-
              termination of nationwide scope and effect. Texas, 2023
              WL 7204840, at *12-13 (Douglas, J., dissenting); Ken-
              tucky, No. 23-3216, slip op. at 12-19 (Cole, J., dissenting).
              Review of the question presented will address this ongo-
              ing division, too.
                  Second, a decision from this Court will provide clarity
              in innumerable future challenges to state plan approvals
              or disapprovals under the Clean Air Act, which occur
              whenever EPA revises ambient air quality standards
              and issues other regulations requiring state plan
                                           23
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              revisions. The Clean Air Act requires EPA to promul-
              gate new national ambient air quality standards every
              five years for a host of different pollutants. 42 U.S.C.
              § 7409(d)(1). Then, every time a new national standard
              for any given pollutant rolls out, States have no more
              than three years to revise their state implementation
              plans. 42 U.S.C. §§ 7410(a)(1), (a)(2)(D). And each state
              has plans for different provisions of the Clean Air Act—
              the Good Neighbor Provision is just one of them—each
              of which may generate their own litigation and concomi-
              tant venue disputes. E.g., Texas v. EPA, 829 F.3d 405,
              417-24 (5th Cir. 2016) (retaining venue in regional circuit
              in challenge to disapprovals of states’ plans to meet Act’s
              “regional haze” requirements); Am. Rd. & Transp.
              Builders Ass’n, 705 F.3d at 455-56 (adjudicating venue
              in challenge to approval of state plan for nonroad engines
              and vehicles); New York v. EPA, 133 F.3d 987, 989-90
              (7th Cir. 1998) (retaining venue in regional circuit over
              dispute concerning exemption from cross-state ozone
              standards spanning states in three different circuits).
              Litigation over approvals and disapprovals of portions of
              state plans is therefore almost constant. And they fur-
              ther multiply every time EPA jumpstarts the process,
              even absent setting a new national standard, by issuing
              calls for state plan revisions. See 42 U.S.C. § 7410(k)(5);
              e.g., W. Virginia Chamber of Com. v. Browner, 166 F.3d
              336 (4th Cir. 1998) (adjudicating venue dispute over call
              for cross-state ozone plan revisions).
                  Litigation over state plans addressing the Good
              Neighbor Provision is a prime example of how implemen-
              tation plan disputes are only increasing in scope and
                                          24
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              frequency. EPA’s first Good Neighbor rule—the 1998
              NOx SIP Call—was limited to Eastern states. 63 Fed.
              Reg. 57,356, 57,386 (Oct. 27, 1998); see also 80 Fed. Reg.
              75,706, 75,715 (Dec. 3, 2015). EPA extended the program
              to additional states in the 2011 Transport Rule. See EME
              Homer, 572 U.S. at 499-500. Currently under the 2015
              ozone NAAQS, the Good Neighbor Provision now has po-
              tential implications as far west as Utah, Nevada, and Cal-
              ifornia. 88 Fed. Reg. at 9,355, 9,358, 9,360. As EPA’s reg-
              ulatory approach has become more aggressive, vigorous
              litigation of EPA’s individual state plan actions has in-
              creased. Without clear rules from this Court, venue dis-
              putes in challenges to EPA actions related to the Good
              Neighbor Provision will continue to recur, creating on-
              going uncertainty for litigants.
                   Third, a decision by this Court will help resolve re-
              curring venue disputes under a variety of other Clean Air
              Act provisions. For example, in cases involving attain-
              ment designations under Section 107 of the Act, courts
              often disregard the substance of the EPA action at issue
              and simply rely on the number of states receiving desig-
              nations, with those attainment designations involving
              more states being sent to the D.C. Circuit and those with
              fewer states remaining in the local circuits. See, e.g., S.
              Ill. Power Coop. v. EPA, 863 F.3d 666, 668 (7th Cir. 2017)
              (24 states transferred to D.C.); W. Oil & Gas Ass’n v.
              EPA, 633 F.2d 803, 806-07 (9th Cir. 1980) (one state re-
              tained in the local circuit); Texas v. EPA, 983 F.3d 826,
              832-35 (5th Cir. 2020) (same); Texas v. EPA, 706 F. App’x
              159 (5th Cir. 2017) (same).

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                  Courts have also addressed venue issues over such
              disparate topics as special provisions granting California
              a Clean Air Act preemption waiver that may be adopted
              by states nationwide, to permitting decisions under Title
              V of the Act that advanced a novel interpretation of the
              Act, to allocation of pollution entitlements in the Act’s
              acid rain program. See, e.g., Dalton Trucking, Inc. v.
              EPA, 808 F.3d 875, 877-78 (D.C. Cir. 2015); Sierra Club
              v. EPA, 926 F.3d 844, 846 (D.C. Cir. 2019); Chevron
              U.S.A. Inc. v. EPA, 45 F.4th 380, 381-82 (D.C. Cir. 2022);
              Texas Mun. Power Agency v. EPA, 89 F.3d 858, 865-67
              (D.C. Cir. 1996). Similarly, in recent decisions related to
              refinery-specific waiver determinations under the Re-
              newable Fuel Standards program, a split has developed
              as to whether such decisions should be heard in the local
              circuits or in the D.C. Circuit. See Calumet Shreveport
              Ref., L.L.C. v. EPA, 86 F.4th 1121, 1130-31 (5th Cir.
              2023) (holding that the Fifth Circuit was the appropriate
              venue because each waiver decision was based on the
              unique facts and circumstances presented by each indi-
              vidual small refinery); Hunt Ref. Co. v. EPA, 90 F.4th
              1107, 1110-12 (11th Cir. 2024) (holding the D.C. Circuit
              was the appropriate venue because EPA issued a single
              notice for all affected small refineries and applied a com-
              mon decision-making method).
                  Finally, ensuring that the appropriate disputes re-
              main in the regional circuits, consistent with the will of
              Congress expressed in the statutory text, is particularly
              important to the states. While the Act requires “[n]ation-
              ally applicable actions go to the D.C. Circuit” to “pro-
              mote[] national uniformity,” it also mandated “locally or
                                          26
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              regionally applicable actions … go to the regional cir-
              cuits, which promotes responsiveness and attention to lo-
              cal and regional diversity.” Texas, 983 F.3d at 835. Okla-
              homa and Utah should, consistent with the Act, be af-
              forded the opportunity to litigate the specific issues re-
              lating to their emissions, and the downwind effects on
              their bordering neighbors, in courts intimately familiar
              with their regional issues, economies, and geographies.
              The regional circuit, moreover, will likely be able to re-
              solve issues regarding a few states more expeditiously
              than the D.C. Circuit would if all states were lumped into
              a consolidation of numerous cases before that distant fo-
              rum. Such consolidation also often prejudices the ability
              of states to bring their unique issues to the fore. Those
              unfortunate results will only metastasize across many
              aspects of Clean Air Act litigation if EPA is able to re-
              peat its procedural ploy, now endorsed by the Tenth Cir-
              cuit, of packaging together many disparate local actions
              into a single Federal Register notice. Particularly given
              the frequency of Clean Air Act disputes in a variety of
              contexts, this Court’s definitive interpretation of the
              Act’s venue provision will advance important jurispru-
              dential interests.
                  C. This Court’s review is also warranted because the
              confusion over the proper application of 42 U.S.C.
              § 7607(b)(1) unnecessarily wastes judicial and party re-
              sources in the present cases and in future ones among the
              panoply of Clean Air Act disputes.
                   “[L]itigation over whether the case is in the right
              court is essentially a waste of time and resources.” Na-
              varro Sav. Ass’n v. Lee, 446 U.S. 458, 464 n.13 (1980)
                                         27
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              (internal quotation marks and citation omitted). Uncer-
              tainty on that question produces “appeals and reversals,
              encourage[s] gamesmanship, and, again, diminish[es] the
              likelihood that results and settlements will reflect a
              claim’s legal and factual merits.” Hertz Corp., 559 U.S. at
              94.
                   The persistent conflict over the circuit in which a
              Clean Air Act challenge belongs produces all those harms.
              Courts of appeals often defer disputed venue questions to
              the merits panel, as the Tenth Circuit did here and the
              Ninth and Eleventh Circuits did in challenges brought by
              other states over their Good Neighbor plans. Supra 12.
              Litigants therefore sometimes invest significant time and
              resources into briefing a case, only for the court to trans-
              fer the case to another circuit. Indeed, here, the transfer
              decision came after the parties completely briefed the
              merits and a month before oral argument. A decision by
              this Court will promote judicial efficiency and streamline
              litigation over EPA final actions.
                   The uncertainty surrounding § 7607(b)(1)’s proper ap-
              plication has also incentivized petitioners to file protective
              petitions for review in multiple circuits. See Nat’l Ass’n of
              Mfrs., 583 U.S. at 119 (“Uncertainty surrounding the
              scope of the Act’s judicial-review provision … prompted
              many parties … to file ‘protective’ petitions for review in
              various Courts of Appeals to preserve their challenges”).
              Petitioners challenging EPA actions related to state plans
              regularly file duplicative judicial review petitions in both
              the regional circuit and the D.C. Circuit to preserve ap-
              peal rights in case they chose venue incorrectly and their

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              “primary” petition gets dismissed rather than trans-
              ferred.5
                  In some cases, “primary” petitions for review of the
              same EPA action are filed by different parties in multiple
              circuits. See Texas, 983 F.3d at 823 (Texas filed petition in
              Fifth Circuit while the Sierra Club filed a petition in the
              D.C. Circuit). These repetitive petitions require party re-
              sources to prepare and impose unnecessary administra-
              tive burdens on courts.
                  Indeed, in this case, EPA has made this duplication of
              efforts even worse. Oklahoma and Utah filed protective
              petitions in the D.C. Circuit after EPA moved to transfer
              or dismiss their Tenth Circuit petitions. EPA then at-
              tempted to exploit the uncertainty by asking the D.C. Cir-
              cuit to adjudicate the venue issue already before the
              Tenth Circuit so as to preempt the regional circuit’s adju-
              dication. Utah v. EPA, Nos. 23-1102 et al., EPA Mot. to
              Confirm Venue and to Expedite, Dkt. No. 1999261 (D.C.
              Cir. May 15, 2023). Thankfully, the D.C. Circuit rejected
              that gambit, but not after yet more expenditure of party
              and court resources briefing the issue. Id., Petitioners’
              Reply in Support of Abeyance, Dkt. No. 2001718 (D.C.

              5
                See, e.g., Sierra Club, 926 F.3d at 846 (dismissing case for improper
              venue rather than transferring to already open Tenth Circuit
              docket); see also id. at 847 (protective petition filed in the Tenth Cir-
              cuit); Dalton Trucking, Inc., 808 F.3d at 877 (protective petition
              filed in D.C. Circuit); Am. Rd. & Transp. Builders, 705 F.3d at 455
              (protective petition filed in the Ninth Circuit); Texas, 829 F.3d at
              416 n.12 (protective petitions filed in both the Tenth and D.C. Cir-
              cuits); Texas, 706 Fed. App’x at 159 (protective petition filed in D.C.
              Circuit).
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              Cir. June 1, 2023); id., Order, Dkt. No. 2005201 (D.C. Cir.
              June 27, 2023).
                “[A]dministrative simplicity is a major virtue” in ap-
              plying a venue statute. Hertz Corp., 559 U.S. at 94. This
              Court should grant review to provide it.
              III. The Tenth Circuit’s decision is wrong.
                  Review should also be granted to correct the errant
              decision below. At bottom, the Tenth Circuit’s decision
              grants EPA the power to “transform” the “proper forum
              for judicial review” by packaging multiple “regionally ap-
              plicable” actions into a single Federal Register notice, and
              therefore making it a “nationally applicable action.” Pet.
              App. 13a. That holding badly misinterprets the Clean Air
              Act, and it adopts a view of venue that improperly elevates
              the form of an EPA action over its substance.
                   A. To start, the Clean Air Act’s venue provision “spe-
              cifically enumerate[s]” a list of EPA actions that are per
              se reviewable in the appropriate regional circuit. Harri-
              son, 446 U.S. at 584. In that list are challenges to EPA
              “action in approving or promulgating any implementation
              plan under section 7410,” such as plans implementing the
              Good Neighbor Provision of the Clean Air Act. 42 U.S.C.
              § 7607(b)(1). Thus, “the statutory text places review of
              [state implementation plan] approvals or disapprovals in
              the regional circuits.” Texas v. EPA, 829 F.3d 405, 419
              n.16 (5th Cir. 2016). Not surprisingly, lower courts have
              repeatedly described action on whether to approve a state
              implementation plan as the “prototypical ‘locally or re-
              gionally applicable’ action that may be challenged only in
              the appropriate regional court of appeals.” Am. Rd. &

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              Transp. Builders Ass’n, 705 F.3d at 455; Nat’l Parks Con-
              servation Ass’n v. McCarthy, 816 F.3d 989, 993 (8th Cir.
              2016) (same); see also Chevron U.S.A. Inc. v. EPA, 45
              F.4th 380, 386 (D.C. Cir. 2022) (describing state imple-
              mentation plan rulemaking as at the far “end of the spec-
              trum” of locally or regionally applicable actions); ATK
              Launch Sys., Inc. v. EPA, 651 F.3d 1194, 1199 (10th Cir.
              2011) (characterizing a state implementation plan as a
              “purely local action” and “an undisputably regional ac-
              tion”).
                  The Tenth Circuit dismissed this text by emphasizing
              the catch-all at the end of the list of actions reviewable in
              the regional circuit: “[T]he statute merely provides,” the
              Tenth Circuit said, “that ‘[a] petition for review of the
              [EPA]’s action in approving or promulgating any imple-
              mentation plan … or any other final action … (including
              any denial or disapproval … ) which is locally or region-
              ally applicable may be filed only in the … appropriate [re-
              gional] circuit.’” Pet. App. 11a n.5 (quoting 42 U.S.C.
              § 7607(b)(1)) (emphasis in original). According to the
              court below, this “does not … say that any such approval,
              promulgation, denial, or disapproval is locally or region-
              ally applicable.” Id. But the Tenth Circuit ignores “the
              grammatical ‘rule of the last antecedent,’ according to
              which a limiting clause or phrase … should ordinarily be
              read as modifying only the noun or phrase that it immedi-
              ately follows.” Barnhart v. Thomas, 540 U.S. 20, 26 (2003).
              Thus, the inclusion of state implementation plan approv-
              als in the enumerated actions means they are categori-
              cally reviewable in the regional circuit regardless of
              whether they are locally or regionally applicable. At the
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              very least, this is a strong textual indication that the chal-
              lenges here are presumptively appropriate in the regional
              circuit.
                  Indeed, EPA concedes that challenges to its state im-
              plementation plan approvals belong in the regional cir-
              cuits. When EPA approved the interstate transport plans
              for the 2015 ozone standard for several other states, it did
              so in a series of Federal Register notices covering individ-
              ual states or small groups of states and instructed that
              “petitions for judicial review … must be filed in the United
              States Court of Appeals for the appropriate circuit.”6
                  EPA nonetheless argues, and the Tenth Circuit
              agreed, that exclusive venue for challenges to the state
              Good Neighbor plan disapprovals lies in the D.C. Circuit
              because of EPA’s calculated decision to announce 21 state
              plan disapprovals in a single Federal Register notice,
              claiming the consolidated notice is therefore a “nationally
              applicable” action. The only distinction between EPA’s
              approval of state plans and disapproval of state plans was
              the form of the notice—specifically, the number of states
              that EPA included in a single Federal Register notice—
              and to EPA, that makes all the difference.
                  But the statute does not hinge the entire question of
              venue on such manipulable formalities. A Federal Regis-
              ter notice does not, by itself, constitute a “final action.” It

              6
               See e.g. 86 Fed. Reg. 73,129 (Dec. 27, 2021) (Hawaii); 85 Fed. Reg.
              20,165 (Oct. 11, 2020) (Colorado and North Dakota); 86 Fed. Reg.
              68,413 (Dec. 2, 2021) (Florida, Georgia, North Carolina, and South
              Carolina); see also, e.g., Comm. for a Better Arvin v. EPA, 786 F.3d
              1169, 1174 (9th Cir. 2015) (reviewing challenge to approval of Cali-
              fornia’s implementation plan).
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              is no more than a vehicle to communicate agency action.
              See Nat. Res. Def. Council v. EPA, 706 F.3d 428, 432 (D.C.
              Cir. 2013). Rather, as the Fourth, Fifth, and Sixth Circuits
              explained, how EPA packaged its state plan decisions
              does not determine the relevant “action”—disapproval of
              a single state’s plan or 21 states’ plans—being challenged.
              Supra 15-16. That determination instead stems from the
              source of EPA’s authority to take the action, which here
              is EPA’s authority to approve or disapprove the plan of a
              single state under 42 U.S.C. § 7410. Supra 16-17. Such sin-
              gle-state actions are categorically not “nationally applica-
              ble.”
                  B. The Fourth, Fifth, and Sixth Circuits also demon-
              strated the Tenth Circuit’s error in concluding that Okla-
              homa and Utah’s plan disapprovals were nationally appli-
              cable because EPA applied the same analytic framework
              in evaluating all state plans. That cannot be correct, the
              Fourth Circuit explained, because it would make virtually
              every EPA action national since EPA is always purport-
              ing to apply some consistent standard to administer its
              portion of a national statute. Supra 17-18. After all, if EPA
              applied different standards to different states, that
              “[u]nexplained inconsistency’” would be “arbitrary and
              capricious.” Encino Motorcars, LLC v. Navarro, 579 U.S.
              211, 222 (2016) (citation and internal quotation marks
              omitted). Indeed, here, EPA applied the same legal prin-
              ciples and methodology to both the state plan approvals
              and the disapprovals. It contended challenges to the for-
              mer belong in the regional circuits. Supra 32 n.6. But that
              cannot be squared with its present argument that

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              application of a national framework for the latter man-
              dates review only in the D.C. Circuit.
                  Other aspects of EPA’s state plan disapprovals only
              corroborate that each disapproval is a separate final ac-
              tion for purposes of the Act’s venue provision. In its Fed-
              eral Register notice, EPA offered only “a brief, high level
              overview of the [state plan] submissions and the EPA’s
              evaluation and key bases for disapproval,” while stating
              that the “full basis for the EPA’s disapprovals” was to be
              found in the sundry proposed rulemakings that were
              grouped and signed by EPA’s regional offices. 88 Fed.
              Reg. at 9,354; see supra 6-8. Thus, even EPA believed at
              one point the true nature of its state plan disapprovals is
              local or regional.
                  And even in its final Federal Register notice, EPA cod-
              ified Oklahoma’s, Utah’s, and every other state’s plan dis-
              approval in separate sections of the Code of Federal Reg-
              ulations. 88 Fed. Reg. at 9,381-84. Normally, “[a]gency
              statements ‘having general applicability and legal effect’
              are to be published in the Code of Federal Regulations,”
              while “preamble statements” are not by default consid-
              ered the final agency action that is subject to judicial re-
              view. Nat. Res. Def. Council v. EPA, 559 F.3d 561, 565
              (D.C. Cir. 2009) (citing 44 U.S.C. § 1510(a)-(b);
              1 C.F.R. § 8.1); see also AT&T Corp. v. FCC, 970 F.3d 344,
              350 (D.C. Cir. 2020). Oklahoma challenges the regulation
              disapproving its state plan that EPA seeks to codify at
              40 C.F.R. § 52.1922(c),      while     Utah      challenges
              40 C.F.R. § 52.2354, and neither are challenging regula-
              tions applying to any other state. Those state-specific reg-
              ulations are, on their face, not “nationally applicable,”
                                          34
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              confirming that the Tenth Circuit erred in concluding that
              venue lies exclusively in the D.C. Circuit.
                                          ** *
                  The Tenth Circuit wrongly indulged EPA’s decision to
              consciously elevate form over substance. Congress di-
              rected that state plan approvals and disapprovals—each
              of which reflect “intensely factual determinations” unique
              to each state—belong in regional circuits. Texas, 829 F.3d
              at 421. Allowing EPA to gerrymander venue by packaging
              together a multitude of state plan disapprovals would un-
              dermine Congress’s careful allocation. Whatever EPA’s
              reasons are to attempt so nakedly to manipulate the fo-
              rum for these cases, “venue provisions in Acts of Congress
              should not be so freely construed as to give the Govern-
              ment the choice of ‘a tribunal favorable’ to it.” Travis v.
              United States, 364 U.S. 631, 634 (1961) (citation omitted).
                                    CONCLUSION
                 This Court should grant the petition.

              March 2024                    Respectfully submitted,




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                         Exhibit B
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                                     No. ______

              In the Supreme Court of the United States
              PACIFICORP; DESERET GENERATION & TRANSMISSION
               CO-OPERATIVE; UTAH MUNICIPAL POWER AGENCY;
                UTAH ASSOCIATED MUNICIPAL POWER SYSTEMS;
                 OKLAHOMA GAS & ELECTRIC COMPANY; TULSA
                CEMENT LLC, d/b/a CENTRAL PLAINS CEMENT
               COMPANY LLC; REPUBLIC PAPERBOARD COMPANY
                    LLC; and WESTERN FARMERS ELECTRIC
                         COOPERATIVE, PETITIONERS,
                                    v.
                U.S. ENVIRONMENTAL PROTECTION AGENCY and
                    MICHAEL REGAN, ADMINISTRATOR, U.S.
                    ENVIRONMENTAL PROTECTION AGENCY
                      ON PETITION FOR A WRIT OF CERTIORARI
                     TO THE UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT

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                          QUESTION PRESENTED

                  Whether the Environmental Protection Agency’s
              disapproval of a State Implementation Plan may only
              be challenged in the D.C. Circuit under 42 U.S.C.
              § 7607(b)(1) if EPA packages that disapproval with
              disapprovals of other States’ SIPs and purports to use
              a consistent method in evaluating the state-specific
              determinations in those SIPs.
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                     PARTIES TO THE PROCEEDINGS

                  The Utah Industry Petitioners are PacifiCorp,
              Deseret Generation & Transmission Co-Operative,
              Utah Municipal Power Agency, and Utah Associated
              Municipal Power Systems.        PacifiCorp, Deseret
              Generation & Transmission Co-Operative, and Utah
              Municipal Power Agency were the Petitioners in the
              Tenth Circuit below in case number 23-9512 and are
              Petitioners here. Utah Associated Municipal Power
              Systems was the Petitioner in the Tenth Circuit below
              in case number 23-9520 and is a Petitioner here.

                  The Oklahoma Industry Petitioners are
              Oklahoma Gas & Electric Company; Tulsa Cement
              LLC, d/b/a Central Plains Cement Company LLC;
              Republic Paperboard Company LLC; and Western
              Farmers Electric Cooperative. Oklahoma Gas &
              Electric Company was the Petitioner in the Tenth
              Circuit below in case number 23-9521 and is a
              Petitioner here. Tulsa Cement LLC, d/b/a Central
              Plains Cement Company LLC, and Republic
              Paperboard Company LLC were the Petitioners in the
              Tenth Circuit below in case number 23-9533 and are
              Petitioners here.      Western Farmers Electric
              Cooperative was the Petitioner in the Tenth Circuit
              below in case number 23-9534 and is a
              Petitioner here.
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                 The U.S. Environmental Protection Agency and
              Michael Regan, in his official capacity as the
              Administrator of the U.S. Environmental Protection
              Agency, are the Respondents here and were the
              Respondents in each of the Tenth Circuit cases below.
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                CORPORATE DISCLOSURE STATEMENTS

                  Petitioner PacifiCorp’s common stock is 100%
              owned by PPW Holdings, LLC, a Delaware limited
              liability company, which is, in turn, wholly owned by
              Berkshire Hathaway Energy Company. Berkshire
              Hathaway Energy Company is a majority-owned
              subsidiary of Berkshire Hathaway Inc., a publicly
              held corporation. No publicly held company directly
              owns 10% or more of PacifiCorp’s common stock.

                   Petitioner Deseret Generation & Transmission
              Co-Operative is a Utah non-profit corporation
              operating as a wholesale generation and transmission
              electric cooperative that is wholly owned by its
              member electric cooperatives, none of which are
              publicly traded. Deseret Generation & Transmission
              Co-Operative does not have a parent corporation and
              no publicly held company owns 10% or more of
              its stock.

                  Petitioner Utah Municipal Power Agency is a
              municipal power agency created pursuant to the
              Interlocal Cooperation Act. Utah Code Ann. §§ 11-13-
              101 et seq. Utah Municipal Power Agency is a not-for-
              profit body politic and corporate and political
              subdivision of the State of Utah, and it does not have
              a parent corporation or shareholders. As such, Utah
              Municipal Power Agency has no information to
              disclose pursuant to Rule 29.6.
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                  Petitioner Utah Associated Municipal Power
              Systems is a political subdivision of the State of Utah.
              As such, Utah Associated Municipal Power Systems
              has no information to disclose pursuant to Rule 29.6.

                  Petitioner Oklahoma Gas & Electric Company is
              a corporation organized and existing under the laws
              of the state of Oklahoma, and has its principal office
              in Oklahoma City, Oklahoma. Oklahoma Gas &
              Electric Company is a wholly-owned subsidiary of
              OGE Energy Corp., a holding company that is exempt
              from registration under the Public Utility Holding
              Company Act of 2005. The common stock of OGE
              Energy Corp. is publicly traded and listed on the New
              York Stock Exchange. OGE Energy Corp. has no
              parent company, and no publicly held company has a
              10% or greater ownership interest in OGE
              Energy Corp.

                   Petitioner Tulsa Cement LLC, doing business as
              Central Plains Cement Company LLC, is a limited
              liability company organized and existing under the
              laws of the State of Delaware, and has its principal
              office in Tulsa, Oklahoma. Central Plains Cement
              Company LLC is a wholly-owned subsidiary of Eagle
              Materials Inc., a corporation organized and existing
              under the laws of the State of Delaware. The common
              stock of Eagle Materials Inc. is publicly traded and
              listed on the New York Stock Exchange. Eagle
              Materials Inc. has no parent company, and no
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              publicly held company has a 10% or greater
              ownership interest in Eagle Materials Inc.

                  Petitioner Republic Paperboard Company LLC is
              a limited liability company organized and existing
              under the laws of the State of Delaware, and has its
              principal office in Lawton, Oklahoma. Republic
              Paperboard Company LLC is a wholly-owned
              subsidiary of Eagle Materials Inc., a corporation
              organized and existing under the laws of the State of
              Delaware. The common stock of Eagle Materials Inc.
              is publicly traded and listed on the New York Stock
              Exchange. Eagle Materials Inc. has no parent
              company, and no publicly held company has a 10% or
              greater ownership interest in Eagle Materials Inc.

                  Petitioner Western Farmers Electric Cooperative
              has no parent corporations, and no shareholders own
              10% or more of its stock.
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               STATEMENT OF RELATED PROCEEDINGS

                  The following proceedings are directly related to
              this case within the meaning of Rule 14.1(b)(iii):

                    Utah v. EPA, No.23-9509 (10th Cir.);

                    PacifiCorp v. EPA, No.23-9512 (10th Cir.);

                    Utah Associated Mun. Power Sys. v. EPA,
                     No.23-9520 (10th Cir.);

                    Oklahoma v. EPA, No.23-9514 (10th Cir.);

                    Okla. Gas & Elec. Co. v. EPA, No.23-9521
                     (10th Cir.);

                    Tulsa Cement LLC        v.   EPA,   No.23-9533
                     (10th Cir.);

                    W. Farmers Elec. Coop. v. EPA, No.23-9534
                     (10th Cir.);

                    Utah v. EPA, No.23-1102 (D.C. Cir.) (protective
                     petition);

                    Oklahoma v. EPA, No.23-1103 (D.C. Cir.)
                     (protective petition);
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                    Okla. Gas & Elec. Co. v. EPA, No.23-1105
                     (D.C. Cir.) (protective petition);

                    Tulsa Cement LLC v. EPA,             No.23-1106
                     (D.C. Cir.) (protective petition);

                    W. Farmers Elec. Coop. v. EPA, No.23-1107
                     (D.C. Cir.) (protective petition);

                    PacifiCorp v. EPA, No.23-1112 (D.C. Cir.)
                     (protective petition).
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                  PETITION FOR WRIT OF CERTIORARI

                  Section 307(b)(1) of the Clean Air Act (“CAA”)
              establishes the venue for challenging certain
              Environmental Protection Agency (“EPA”) actions,
              including EPA decisions on state implementation
              plans (“SIPs”) submitted by individual States. A
              “locally or regionally applicable” action must be
              venued in “the appropriate [regional] circuit,”
              whereas a “nationally applicable” action (or an action
              where EPA makes a valid determination of
              “nationwide scope or effect”) is venued in the
              D.C. Circuit. 42 U.S.C. § 7607(b)(1).

                   Here, the States of Utah and Oklahoma
              challenged EPA’s disapprovals of their SIPs for the
              interstate transport of ozone. Because the States,
              along with affected Industry Petitioners, challenged
              only the SIP disapprovals for Utah and Oklahoma,
              they naturally filed their challenges in the Tenth
              Circuit, the regional circuit where those States are
              located. Other States and their local industries
              followed the same approach, similarly challenging
              EPA’s disapprovals of other individual States’ ozone-
              transport SIPs in the Fourth, Fifth, Sixth, Eighth,
              Ninth, and Eleventh Circuits, respectively.

                  EPA, however, believes that all of these
              challenges should have been brought only in the D.C.
              Circuit and so requested transfer all of the challenges
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              to that venue. To support its transfer requests, EPA
              argued that its decision to pack multiple disapprovals
              of individual state plans into a single Federal Register
              notice, along with references to its preferred and
              allegedly consistently applied methodology, rendered
              all of the SIP disapprovals, together, a single
              “nationally applicable” action reviewable only in the
              D.C. Circuit. 42 U.S.C. § 7607(b)(1).

                  The Courts of Appeals’ dispositions of EPA’s
              motions to transfer have resulted in a clear circuit
              split as to whether the States or EPA are correct on
              the Question Presented: whether EPA’s packaging of
              SIP disapprovals together and purported use of a
              consistent methodology renders all such SIPs a single
              national action that must be challenged only in the
              D.C. Circuit. On one side of the split, the Fourth,
              Fifth, Sixth, and Eighth Circuits agree with
              Petitioners’ approach, holding that the local circuits
              are the proper venue for challenging EPA’s SIP
              disapprovals. These courts correctly answered the
              Question Presented, explaining that SIPs are
              quintessentially “locally or regionally applicable”
              actions because they are state-specific in nature, id.—
              regardless of how EPA packages or how allegedly
              consistent EPA acts in evaluating those SIPs. The
              Tenth Circuit, however, agreed with EPA, concluding
              that the D.C. Circuit is the only proper venue for the
              challenges to the Utah SIP and Oklahoma SIP
              disapprovals. The Tenth Circuit explicitly rejected
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              the reasoning of its sister circuits, while relying upon
              the dissenting opinions in those cases. Finally, the
              Ninth and Eleventh Circuits both have the Question
              Presented pending before them.

                 This Court should grant review to resolve this
              important circuit split, while bringing order to the
              chaos that the split created.

                   As this Court has previously recognized in the
              context of Section 307(b)(1)—the provision at issue
              here—“determining the locus of judicial review of the
              actions of EPA” is “importan[t]” enough to justify a
              grant of certiorari. Harrison v. PPG Indus., Inc., 446
              U.S. 578, 586 (1980).       Clarity over preliminary
              matters such as venue is essential for the orderly
              litigation of important federal issues, and questions of
              the appropriate venue to challenge EPA action on
              SIPs regularly arise, given the frequency with which
              States submit SIPs to EPA and the balance of federal
              and state authority in the CAA.

                   This circuit split, arising in the context of ongoing
              litigation    over     twelve      ozone-transport     SIP
              disapprovals, calls out for immediate review and is
              analogous to the petition that this Court granted in
              National Association of Manufacturers v. Department
              of Defense (“NAM”), 583 U.S. 109 (2018). In NAM, the
              Sixth Circuit and district courts took different
              positions as to the proper federal forum for
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              adjudicating ongoing challenges to a rule issued by
              EPA under the Clean Water Act. Here, like in NAM,
              there is a split over the proper federal forum—but this
              time for challenges to disapprovals of ozone-transport
              SIPs that EPA only lumped together in a single
              Federal Register notice at the final rule stage—with
              the split here being more pronounced.           Absent
              immediate review from this Court, challenges to the
              ozone-transport SIP disapprovals of ten sovereign
              States will be adjudicated in regional circuits,
              whereas the SIP disapprovals of Utah’s and
              Oklahoma’s ozone-transport SIPs will be decided by
              the D.C. Circuit. In other words, absent this Court’s
              review, important rights of either two or ten sovereign
              States will be adjudicated in the wrong venue.

                 This Court should bring order to this chaos by
              granting this Petition.

                              DECISION BELOW

                  The Tenth Circuit’s February 27, 2024, decision
              granting in part EPA’s motions to dismiss or transfer
              and directing transfer is unreported but is available
              at 2024 WL 799356 and is reproduced at
              Pet.App.1a–17a.
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                                JURISDICTION

                  The Tenth Circuit entered its order granting in
              part EPA’s motions to dismiss or transfer and
              directing transfer on February 27, 2024. Pet.App.1a–
              17a. This Court has jurisdiction to review that order
              under 28 U.S.C. § 1254(1).

                     STATUTORY AND REGULATORY
                        PROVISIONS INVOLVED

                 The relevant portions of 42 U.S.C. § 7607 and 42
              U.S.C. § 7410 are set forth at Pet.App.26a–32a.

                         STATEMENT OF THE CASE

                  A. Legal Background

                  The CAA creates a cooperative federalism regime
              to regulate air pollution. See 42 U.S.C. § 7401;
              Michigan v. EPA, 268 F.3d 1075, 1083 (D.C. Cir.
              2001); accord Train v. Nat. Res. Def. Council, Inc., 421
              U.S. 60, 79 (1975) (“[S]o long as the ultimate effect of
              a State’s choice of emission limitations is compliance
              with the [CAA], the State is at liberty to adopt
              whatever mix of emission limitations it deems best
              suited to its particular situation.”). Congress directed
              EPA to establish national ambient air quality
              standards (“NAAQS”) for pollutants, such as ozone,
              see 42 U.S.C. §§ 7408–09, and then gave States the
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              lead responsibility to develop programs to regulate air
              quality to meet the NAAQS, id. § 7410(a)(1); accord
              id. § 7401(a)(3) (“air pollution prevention . . . and air
              pollution control at its source is the primary
              responsibility of States and local governments”).

                  A State meets its CAA responsibilities by creating
              a SIP, which must include provisions that satisfy the
              State’s interstate-transport obligations under
              Section 110 of the CAA. See Union Elec. Co. v. EPA,
              427 U.S. 246, 249–50 (1976); see generally 42 U.S.C.
              § 7410(a).     A State has “wide discretion in
              formulating” a SIP, Union Elec., 427 U.S. at 250, and
              “is at liberty to adopt whatever mix of emission
              limitations it deems best suited to its particular
              situation,” “so long as the ultimate effect of [the]
              State’s choice of emission limitations is compliance
              with the national standards for ambient air,” Train,
              421 U.S. at 79. As relevant here, Section 110 provides
              that “upwind States” must “reduce emissions to
              account for pollution exported beyond their borders”
              that “contribute[s] significantly” to downwind States’
              compliance. 42 U.S.C. § 7410(a)(2)(D); see also EPA
              v. EME Homer City Generation, L.P., 572 U.S. 489,
              499 (2014).     Specifically, a SIP must “contain
              adequate provisions . . . prohibiting . . . any source or
              other type of emissions activity within the State from
              emitting any air pollutant in amounts which will . . .
              contribute significantly to nonattainment in, or
              interfere with maintenance by, any other State with
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              respect to any        ...   [NAAQS].”        42   U.S.C.
              § 7410(a)(2)(D).

                  To ensure that the SIP complies with the CAA,
              EPA must review each State’s proposed SIP on an
              individual basis. Id. § 7410(k)(3); Union Elec., 427
              U.S. at 250. EPA “shall approve” a SIP if it “meets all
              the applicable requirements” of the Act. 42 U.S.C.
              § 7410(k)(3); see Union Elec., 427 U.S. at 250. If EPA
              determines that a State has failed to submit an
              adequate SIP, EPA must promulgate a “Federal
              implementation plan” (“FIP”) for the State within two
              years of that determination, “unless the State corrects
              the deficiency” before EPA issues a FIP. 42 U.S.C.
              § 7410(c)(1); see EME Homer, 572 U.S. at 498.

                    Section 307(b)(1) establishes the appropriate
              venue for a petition for review challenging EPA action
              under the CAA, including petitions challenging EPA’s
              approval or disapproval of SIPs.             42 U.S.C.
              § 7607(b)(1); see Harrison, 446 U.S. at 584–85.
              Section 307(b)(1) provides three venue pathways.
              Section 307(b)(1)’s first sentence provides that a
              petition for review challenging “nationally applicable
              . . . final action taken[ ] by the Administrator . . . may
              be filed only in the United States Court of Appeals for
              the District of Columbia.” 42 U.S.C. § 7607(b)(1).
              Section 307(b)(1)’s second sentence provides that “a
              petition for review of the Administrator’s action in
              approving or promulgating any implementation plan”
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              or other final agency action that is “locally or
              regionally applicable may be filed only in the United
              States Court of Appeals for the appropriate circuit.”
              Id. Finally, Section 307(b)(1)’s third sentence creates
              an alternative venue pathway for challenges to a local
              or regional action that nevertheless has a nationwide
              scope or effect, notwithstanding the action’s local or
              regional nature. Id. Under this third sentence, the
              D.C. Circuit is the proper venue for a petition
              challenging EPA’s local/regional action if that action
              “is based on a determination of nationwide scope or
              effect . . . and if in taking such action
              the Administrator finds and publishes that such
              action is based on such a determination.” Id. This
              third venue pathway requires a court to determine
              both that EPA made a determination of nationwide
              scope or effect and that the local or regional action is
              actually based upon a determination of nationwide
              scope and effect. Id.

                  B. Factual And Procedural Background

                  1. In 2015, EPA lowered the NAAQS for ground-
              level ozone, for which NOx is a precursor, to 70 parts
              per billion. 80 Fed. Reg. 65,292 (Oct. 26, 2015). That
              triggered the States’ duty to develop and submit SIPs
              to meet this new NAAQs within three years, by 2018.
              See 42 U.S.C. § 7410(a)(1).
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                  Following EPA’s publication of the 2015 ozone
              NAAQS, the State of Utah developed its ozone-
              transport SIP to comply with this NAAQS. Joint
              Deferred App., Vol. I at 0074–112, Nos.23-9509, et al.,
              Doc.11037455 (10th Cir. Oct. 17, 2023) (hereinafter
              “JDA”). Utah closely collaborated with EPA for over
              a year to develop this SIP, with EPA commenting on
              drafts of Utah’s SIP. See JDA, Vol. I at 0069–73. EPA
              encouraged Utah to follow approaches discussed in
              certain EPA guidance and recommended that Utah
              elaborate on certain components in its SIP. See JDA,
              Vol. I at 0072, 0146. After incorporating this feedback
              from EPA, Utah concluded in its SIP that its
              contributions to downwind-state air quality were not
              significant and, therefore, that additional emission
              reductions in Utah were not necessary. See JDA,
              Vol. I at 0092–100 (Utah’s SIP). This conclusion
              relied upon state- and region-specific facts and
              analyses relating to Utah’s unique topographical,
              geographical, and meteorological characteristics.
              JDA, Vol. I at 0097–100, 0147 & nn.7–8, 10; JDA,
              Vol. II at 0183 & n.1, 0195–96. For example, Utah
              considered the significant and outsized impact of
              uncontrollable sources of ozone like wildfires and
              international emissions on Colorado, the downwind
              State most likely to be affected by emissions from
              Utah. JDA, Vol. I at 0097–98. Utah submitted its
              proposed SIP to EPA on October 24, 2019. JDA, Vol. I
              at 0089.       Two months later, EPA made an
              incompleteness determination on the SIP, alleging
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              that Utah had not provided adequate public notice.
              84 Fed. Reg. 66,612 (Dec. 5, 2019). Utah then
              submitted a revised SIP the next month after
              providing additional opportunities for public
              participation. JDA, Vol. I at 0074–75.

                  Oklahoma submitted its SIP on October 25, 2018.
              Joint Deferred App., Vol. I at 0133, Nos.23-9521, et
              al., Doc.11041131 (10th Cir. Nov. 1, 2023)
              (hereinafter “J. App’x”).     In its SIP, Oklahoma
              concluded that in-state sources would not contribute
              significantly to downwind nonattainment or
              maintenance issues in any other State, based on the
              State’s holistic review of multiple local and regional
              factors impacting the “significance” of the State’s
              contributions.       J. App’x, Vol. I at 0170–73.
              Oklahoma’s analysis centered on the State’s unique
              meteorological       features    and    the     special
              characteristics of its electricity generation market,
              relying in part on regional modeling developed to
              address some of the regional meteorological
              conditions affecting ozone formation and accounting
              for recent trends in regional ozone emissions.
              J. App’x, Vol. I at 0168–73. Oklahoma likewise made
              state-specific    judgments     regarding    modeling
              performance, contribution thresholds, and trends at
              specific downwind receptors in analyzing its
              interstate transport obligations.      J. App’x, Vol. I
              at 0175–77.
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                  2. After an unexplained (and unlawful, 42 U.S.C.
              § 7410(k)(2)) delay of more than two years, EPA
              proposed to disapprove Utah’s SIP. 87 Fed. Reg.
              31,470 (May 24, 2022); JDA, Vol. I at 0130. In
              proposing to disapprove Utah’s SIP, EPA disagreed
              with Utah’s determination that sources within Utah
              did not significantly contribute to nonattainment of
              the 2015 NAAQS for ozone for certain areas in
              Colorado. 87 Fed. Reg. at 31,483. To reach that
              conclusion, EPA disagreed with each of the state- and
              region-specific findings that Utah had made in its SIP
              submission, see id. at 31,477, 31,482, as well as with
              Utah’s state-specific analysis justifying the threshold
              Utah had chosen for determining significant
              contribution, id. at 31,478. So, for example, EPA
              dismissed Utah’s conclusion that “contributions from
              other sources, including international or non-
              anthropogenic       emissions,”     were     important
              considerations for the overall impact to Colorado as
              an “excuse” by Utah to avoid addressing its own
              emissions. Id. at 31,482.

                  EPA similarly delayed acting on Oklahoma’s SIP
              submission, proposing disapproval in a separate,
              regionally limited Federal Register notice over three
              years after the State’s submittal. 87 Fed. Reg. 9,798
              (Feb. 22, 2022). The substance of EPA’s analysis
              focused on the local and regional matters at the core
              of Oklahoma’s SIP submission, finding that
              Oklahoma’s assessment of a higher contribution
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              threshold was not adequately justified, rejecting
              Oklahoma’s analysis of collective contribution, and
              finding technical flaws in Oklahoma’s analysis of
              specific downwind receptors using a state-developed
              regional pollution model. See id. at 9,818–24.

                  After evaluating Utah’s and Oklahoma’s SIPs
              separately in proposed disapprovals, on February 13,
              2023, EPA combined its final disapprovals of Utah’s
              SIP and Oklahoma’s SIP within a single Federal
              Register notice that also included disapprovals of 19
              other SIPs and a deferral on two other States’ SIPs.
              88 Fed. Reg. 9,336, 9,337–38, 9,354 (Feb. 13, 2023).
              EPA made clear that it judged each SIP “in light of
              the facts and circumstances of each particular state’s
              submission.” Id. at 9,340; see also id. at 9,354 (“[T]he
              contents of each individual state’s submission were
              evaluated on their own merits[.]”).          For EPA’s
              disapprovals of Utah’s SIP and Oklahoma’s SIP, in
              particular, EPA provided only “a brief, high level
              overview” in the form of one-paragraph analyses that
              largely reiterated and incorporated EPA’s points in its
              proposed disapprovals of Utah’s SIP and Oklahoma’s
              SIP. Id. at 9,354, 9,359–60.

                   EPA then asserted that any challenges to any of
              its SIP disapprovals included in this Federal Register
              notice must be filed in the D.C. Circuit under the first
              sentence of Section 307(b)(1) because EPA’s actions
              were “nationally applicable” or, in the alternative,
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              under the third sentence of Section 307(b)(1) because
              EPA had made a finding of “nationwide scope or
              effect.”   Id. at 9,380–81 (quoting 42 U.S.C.
              § 7607(b)(1)).

                  3. On April 6, 2022—before EPA had disapproved
              Utah’s SIP and Oklahoma’s SIP—EPA proposed to
              issue FIPs for Utah and Oklahoma, in addition to
              issuing FIPs for 21 other States. 87 Fed. Reg. 20,036,
              20,038 (Apr. 6, 2022). On June 5, 2023, EPA
              published a final rule imposing those FIPs on Utah
              and Oklahoma, as well as on the 21 other States. 88
              Fed. Reg. 36,654, 36,656 (June 5, 2023). EPA set the
              effective date of these FIPs for August 4, 2023. Id.
              at 36,654. This Court recently heard oral argument
              on emergency applications to stay these FIPs filed by
              the States of Ohio, Indiana, and West Virginia,
              nationwide industry organizations, and other parties.
              Ohio v. EPA, No.23A349 (U.S. Feb. 21, 2024).

                  4. Petitioners are the Utah Industry Petitioners,
              who are industry members with significant interests
              in Utah, and the Oklahoma Industry Petitioners, who
              are industry members with significant interests in
              Oklahoma. See generally Pet.App.9a. The Utah
              Industry Petitioners filed their petitions for review in
              the Tenth Circuit challenging EPA’s disapproval of
              Utah’s SIP and, separately, the Oklahoma Industry
              Petitioners filed their petitions for review in the
              Tenth Circuit challenging EPA’s disapproval of
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              Oklahoma’s SIP. Pet.App.9a.1 The States of Utah
              and Oklahoma also filed their own separate petitions
              for review in the Tenth Circuit, likewise challenging
              EPA’s disapproval of their own SIPs. See Pet.App.9a.
              In these petitions for review, Petitioners, Utah, and
              Oklahoma specified that they were challenging only
              EPA’s disapprovals of Utah’s SIP and Oklahoma’s
              SIP, respectively.2 Thus, Petitioners, Utah, and
              Oklahoma asserted that venue for their respective
              challenges was appropriate in the Tenth Circuit,
              under Section 307(b)(1).




                  1  See Pet., PacifiCorp v. EPA, No.23-9512, Doc.10979118
              (10th Cir. Feb. 23, 2023); Pet., Utah Associated Mun. Power Sys.
              v. EPA, No.23-9520, Doc.10983701 (10th Cir. Mar. 15, 2023);
              Pet., Okla. Gas & Elec. Co. v. EPA, No.23-9521, Doc.10983983
              (10th Cir. Mar. 16, 2023); Pet., Tulsa Cement LLC v. EPA, No.23-
              9533, Doc.10991428 (10th Cir. Apr. 13, 2023); Pet., W. Farmers
              Elec. Coop. v. EPA, No.23-9534, Doc.10991510 (10th Cir.
              Apr. 13, 2023).
                  2  See Pet. at 2, Utah v. EPA, No.23-9509, Doc.10976607
              (10th Cir. Feb. 13, 2023); Pet. at 2, PacifiCorp, No.23-9512,
              Doc.10979118; Pet. at 2, Utah Associated Mun. Power Sys.,
              No.23-9520, Doc.10983701; Pet. at 2, Oklahoma v. EPA, No.23-
              9514, Doc.10980562 (10th Cir. Mar. 2, 2023); Pet. at 2, Okla. Gas
              & Elec. Co., No.23-9521, Doc.10983983; Pet. at 2, Tulsa Cement
              LLC, No.23-9533, Doc.10991428; Pet. at 2, W. Farmers Elec.
              Coop., No.23-9534, Doc.10991510.
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                   In addition to filing petitions for review in the
              Tenth Circuit, Petitioners, Utah, and Oklahoma filed
              protective petitions in the D.C. Circuit. See Pet. at 2,
              Utah v. EPA, No.23-1102, Doc.1994857 (D.C. Cir. Apr.
              13, 2023); see also Pet. at 3–4, Oklahoma v. EPA,
              No.23-1103, Doc.1994881 (D.C. Cir. Apr. 13, 2023);
              Pet. at 2, Okla. Gas & Elec. Co. v. EPA, No.23-1105,
              Doc.1994865 (D.C. Cir. Apr. 14, 2023); Pet. at 2, Tulsa
              Cement LLC v. EPA, No.23-1106, Doc.1994912 (D.C.
              Cir. Apr. 14, 2023); Pet. at 2, W. Farmers Elec. Coop.
              v. EPA, No.23-1107, Doc.1994920 (D.C. Cir. Apr. 14,
              2023); Pet. at 2, PacifiCorp v. EPA, No.23-1112,
              Doc.1995594 (D.C. Cir. Apr. 14, 2023). After motions
              practice where EPA attempted to force Petitioners to
              litigate their protective petitions on the merits in the
              D.C. Circuit, the D.C. Circuit ordered that these
              protective petitions be held in abeyance. Order, Utah,
              Nos.23-1102, et al., Doc.2005201 (D.C. Cir. June 27,
              2023) (per curiam).

                   Thereafter, the parties and the Tenth Circuit
              engaged in extensive venue and stay proceedings.
              After EPA moved the Tenth Circuit to transfer venue
              for the petitions to the D.C. Circuit, Pet.App.9a,3 the
              Tenth Circuit—Judges Tymkovich, Bacharach, and


                  3 In each of EPA’s venue-transfer motions discussed in this

              Petition, EPA also moved, in the alternative, for dismissal for
              improper venue.
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              Rossman—entered an order referring EPA’s motions
              to transfer venue to the merits panel. Order, Utah,
              Nos.23-9509, et al., Doc.10994985 (10th Cir. Apr. 27,
              2023). Then, on July 27, 2023, the Tenth Circuit—
              Judges Tymkovich and Carson—granted motions to
              stay the disapprovals of Utah’s SIP and Oklahoma’s
              SIP, finding that “petitioners have satisfied their
              burden as to each” of the stay factors. Order at 4,
              Utah, Nos.23-9509, et al., Doc.11016742 (10th Cir.
              July 27, 2023). The Tenth Circuit ordered, and the
              parties subsequently completed, full briefing on the
              merits, see Order at 3–4, Utah, Nos.23-9509, et al.,
              Doc.11002290 (10th Cir. Apr. 30, 2023); Minute
              Order, Utah, Nos.23-9509, et al., Doc.11038946 (10th
              Cir. Oct. 25, 2023), with the Court setting the case for
              oral argument on March 21, 2024, Notice, Utah,
              Nos.23-9509, et al., Doc.11058134 (10th Cir.
              Jan. 10, 2024).

                  5. Meanwhile, ten other States and/or their local
              industries challenged EPA’s disapprovals of their
              ozone-transport SIPs in their regional circuits. See 88
              Fed. Reg. 49,295, 49,296–97 (July 31, 2023); 88 Fed.
              Reg. 67,102, 67,103–04 (Sept. 29, 2023).

                  In the Fourth Circuit, the State of West Virginia
              challenged EPA’s disapproval of West Virginia’s SIP.
              West Virginia v. EPA, 90 F.4th 323, 325 (4th Cir.
              2024).     West Virginia moved to stay EPA’s
              disapproval as to West Virginia’s SIP, and EPA
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              moved to transfer the petition to the D.C. Circuit. Id.
              After oral argument on these issues, the Fourth
              Circuit rejected EPA’s transfer motion, holding that it
              was the appropriate venue under Section 307(b)(1)’s
              second sentence, id. at 327–31, and stayed EPA’s
              disapproval as to West Virginia’s SIP, id. at 331–32.
              The parties have not yet concluded merits briefing.

                  In the Fifth Circuit, the States of Texas,
              Mississippi, and Louisiana, along with local industry,
              challenged EPA’s disapproval of Texas’s SIP,
              Mississippi’s SIP, and Louisiana’s SIP. Texas v. EPA,
              No.23-60069, 2023 WL 7204840, at *3 (5th Cir. May
              1, 2023) (per curiam). The challengers moved to stay
              EPA’s disapprovals, and EPA moved to transfer to the
              D.C. Circuit. Id. (addressing stay motions as to
              Texas’s SIP and Louisiana’s SIP, as well as EPA’s
              transfer motion as to all petitions); Order, Texas,
              No.23-60069, Dkt.359 (5th Cir. June 8, 2023)
              (addressing stay motion as to Mississippi’s SIP). The
              Fifth Circuit rejected EPA’s transfer motion, holding
              in a detailed opinion that the regional circuit court
              was the appropriate venue, Texas, 2023 WL 7204840,
              at *3–6, and then it stayed EPA’s disapprovals as to
              Texas’s SIP, Louisiana’s SIP, and Mississippi’s SIP,
              id. at *6–11; Order, Texas, No.23-60069, Dkt.359.
              The parties have concluded merits briefing on the
              petitions, and the Fifth Circuit heard oral argument
              on December 4, 2023. See Notice, Texas, No.23-60069,
              Dkt.511 (5th Cir. Dec. 4, 2023).
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                  In the Sixth Circuit, the Commonwealth of
              Kentucky     challenged     EPA’s    disapproval    of
              Kentucky’s SIP. Order at 1, Kentucky v. EPA, No.23-
              3216, Dkt.39-2 (6th Cir. July 25, 2023). Kentucky
              moved to stay EPA’s disapproval, and EPA moved to
              transfer the petition to the D.C. Circuit. Id. at 1–2.
              The Sixth Circuit held that it was the appropriate
              venue and so denied EPA’s motion, id. at 2–6, and
              then it stayed EPA’s disapproval, id. at 6–9. The
              parties have concluded merits briefing, and the Sixth
              Circuit has set oral argument for May 8, 2024.
              Notice, Kentucky, No.23-3216, Dkt.80 (6th Cir.
              Mar. 11, 2024).

                  In the Eighth Circuit, the States of Arkansas and
              Missouri, as well as industry members and other
              entities in Minnesota, separately challenged EPA’s
              disapprovals of Arkansas’s SIP, Missouri’s SIP, and
              Minnesota’s SIP. See Pet., Arkansas v. EPA, No.23-
              1320, Doc.5246849 (8th Cir. Feb. 16, 2023); Pet.,
              Missouri v. EPA, No.23-1719, Doc.5265074 (8th Cir.
              Apr. 13, 2023); Pet., Allete, Inc. v. EPA, No.23-1776,
              Doc.5265614 (8th Cir. Apr. 14, 2023) (Minnesota).4


                  4 See also Pet., Union Elec. Co. v. EPA, No.23-1751,
              Doc.5265392 (8th Cir. Apr. 13, 2023); Pet., Sw. Elec. Power Co.
              v. EPA, No.23-1765, Doc.5265470 (8th Cir. Apr. 14, 2023); Pet.,
              City Utils. of Springfield v. EPA, No.23-1774, Doc.5265562 (8th
              Cir. Apr. 14, 2023); Pet., Hybar, LLC v. EPA, No.23-1777,
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              These challengers moved to stay EPA’s disapprovals,
              and EPA moved to transfer. See, e.g., Mot. to Transfer
              or Dismiss, Arkansas, No.23-1320, Doc.5256958 (8th
              Cir. Mar. 20, 2023). The Eighth Circuit denied EPA’s
              transfer motions, see, e.g., Order, Arkansas, No.23-
              1320, Doc.5269098 (8th Cir. Apr. 25, 2023); Order,
              Missouri, No.23-1719, Doc.5281126 (8th Cir. May 26,
              2023); Order, Allete, No.23-1776, Doc.5281229 (8th
              Cir. May 26, 2023), and then stayed EPA’s
              disapprovals as to Arkansas’s SIP, Missouri’s SIP,
              and Minnesota’s SIP, see, e.g., Order, Arkansas,
              No.23-1320, Doc.5280996 (8th Cir. May 25, 2023);
              Order, Missouri, No.23-1719, Doc.5281126 (8th Cir.
              May 26, 2023); Order, Allete, No.23-1776,
              Doc.5292580 (8th Cir. July 5, 2023). The parties have
              concluded merits briefing, and the Eighth Circuit has
              not yet set an oral argument date.

                  In the Ninth Circuit, an industry member in
              Nevada challenged EPA’s disapproval of Nevada’s
              SIP. Pet., Nevada Cement Co. v. EPA, No.23-682,
              Dkt.1 (9th Cir. Apr. 14, 2023). That industry member
              moved to stay EPA’s disapproval, and EPA moved to
              transfer to the D.C. Circuit. Order, Nevada Cement
              Co., No.23-682, Dkt.27.1 (9th Cir. July 3, 2023). The


              Doc.5265597 (8th Cir. Apr. 14, 2023); Pet., Ark. League of Good
              Neighbors v. EPA, No.23-1778, Doc.5265611 (8th Cir.
              Apr. 14, 2023).
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              Ninth Circuit referred EPA’s transfer motion to the
              merits panel and then stayed EPA’s disapproval as to
              Nevada’s SIP. Id. at 1–2. The State of Nevada was
              also then granted permission to intervene in support
              of the industry member. Id. at 1. The Ninth Circuit
              has temporarily closed the docket for administrative
              purposes until May 6, 2024, to allow the parties to
              engage in mediation. Order, Nevada Cement Co.,
              No.23-682, Dkt.40.1 (9th Cir. Dec. 6, 2023); Notice,
              Nevada Cement Co., No.23-682, Dkt.43 (9th Cir. Feb.
              28, 2024).5

                  Finally, in the Eleventh Circuit, the State of
              Alabama, along with two industry members,
              challenged EPA’s disapproval of Alabama’s SIP. Pet.,
              Alabama v. EPA, No.23-11173, Dkt.1 (11th Cir. Apr.
              13, 2023); Pet., Ala. Power Co. v. EPA, No.23-11196,
              Dkt.1 (11th Cir. Apr. 14, 2023). These challengers
              moved to stay EPA’s disapproval, see Order, Alabama,
              Nos.23-11173, -11196, Dkt.33-2 (11th Cir. Aug. 17,
              2023), and the Eleventh Circuit requested sua sponte
              that the parties address the question of whether the
              challenges were properly before that court,
              Jurisdictional Question, Alabama, Nos.23-11173,
              -11196, Dkts.9-1, 9-2 (11th Cir. Apr. 28, 2023). In


                     5 The State of Nevada also filed a petition for review in the

              D.C. Circuit. Pet., Nevada v. EPA, No.23-1113, Doc. 1995624
              (D.C. Cir. Apr. 14, 2023).
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              response, the challengers argued that the Eleventh
              Circuit was the proper court to hear their challenges,
              Joint Resp., Alabama, Nos.23-11173, -11196, Dkt.13
              at 1 (11th Cir. May 5, 2023), while EPA requested
              that the Eleventh Circuit transfer the challenges to
              the D.C. Circuit, EPA Resp., Alabama, Nos.23-11173,
              -11196, Dkt.14 at 1 (11th Cir. May 12, 2023). The
              Eleventh Circuit referred the question to the merits
              panel, Order, Alabama, Nos.23-11173, -11196, Dkt.24
              (11th Cir. July 12, 2023), and then stayed EPA’s
              disapproval as to Alabama’s SIP, Order, Alabama,
              Nos.23-11173, -11196, Dkt.33-2. The parties have
              concluded merits briefing, and the Eleventh Circuit
              has not yet set oral argument.

                  6. About a month before the oral argument date
              that the Tenth Circuit had set for the Utah and
              Oklahoma cases, the merits panel of the Tenth
              Circuit—Judges Moritz, Ebel, and Rossman—granted
              EPA’s motion to transfer to the D.C. Circuit.
              Pet.App.18a–25a (granting motion to transfer, while
              indicating that a decision directing transfer would
              issue in due course); Pet.App.1a–17a (directing
              transfer, while providing the merits panel’s
              reasoning). The Tenth Circuit held that the D.C.
              Circuit was the appropriate venue under
              Section 307(b)(1)’s first sentence, while declining to
              opine on the application of Section 307(b)(1)’s third
              sentence. Pet.App.9a–11a, 17a n.8. The Tenth
              Circuit held that EPA’s actions here are “nationally
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              applicable” because EPA “disapprov[ed] SIPs from 21
              states across the country,” while “appl[ying] a
              uniform statutory interpretation and common
              analytical methods.” Pet.App.11a. The Tenth Circuit
              “recognize[d] that the Fourth, Fifth, and Sixth
              Circuits recently reached the contrary conclusion:
              each denied the EPA’s motions to transfer petitions
              challenging the same final rule at issue here.”
              Pet.App.15a (citing West Virginia, 90 F.4th at 331;
              Texas, 2023 WL 7204840, at *1; and Order at 6,
              Kentucky, No.23-3216, Dkt.39-2). “But in [the Tenth
              Circuit’s] view, all three courts strayed from
              § 7607(b)(1)’s text and instead applied a petition-
              focused approach that [the Tenth Circuit] and other
              circuits have rejected.” Pet.App.15a. The Tenth
              Circuit also noted that “[t]he Eighth Circuit also
              denied the EPA’s transfer motions, but [the Eighth
              Circuit] simply issued summary orders containing no
              analysis.” Pet.App.15a n.6 (citing Order, Arkansas,
              No.23-1320, Doc.5269098).

                   REASONS FOR GRANTING THE PETITION

              I.     As The Tenth Circuit Acknowledged, Its
                     Transfer Decision Created A Circuit Split
                     Over The Question Presented

                  There is an acknowledged circuit split over the
              Question Presented, with the Tenth Circuit on the one
              side, and multiple other circuits squarely on the
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              other. This division of authority satisfies this Court’s
              standard for granting certiorari. Sup. Ct. R. 10(a).

                  The Tenth Circuit below held that EPA could
              transform a locally or regionally applicable final
              action on a SIP into a nationally applicable action—
              thereby making the D.C. Circuit the only venue to
              hear petitions challenging that action, under Section
              307(b)(1)—by packaging that action with other
              actions on other SIPs and using a consistent
              methodology in analyzing the SIP submittals.
              Pet.App.10a–12a. As the Tenth Circuit explained,
              EPA’s packaged actions here are “nationally
              applicable” in its view because EPA “disapprov[ed]
              SIPs from 21 states across the country,” while
              “appl[ying] a uniform statutory interpretation and
              common analytical methods, which required the
              agency to examine the overlapping and interwoven
              linkages between upwind and downwind states in a
              consistent manner.” Pet.App.11a. The Tenth Circuit
              concluded that EPA’s disapprovals of Utah’s SIP and
              Oklahoma’s SIP were nationally applicable actions
              despite the fact that EPA issued separate “proposed
              rules” and “could have chosen to issue standalone
              final SIP disapprovals” for each of these States.
              Pet.App.12a (emphasis omitted).         In the Tenth
              Circuit’s view, the action here is “a nationally
              applicable final rule . . . disapproving SIPs from 21
              states across the country—not just one—because
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              those states failed to meet their good-neighbor
              obligations.” Pet.App.12a.

                  The Fourth, Fifth, Sixth, and Eighth Circuits
              squarely split with the Tenth Circuit over the
              Question Presented, as the Tenth Circuit recognized.
              Pet.App.15a & n.7 (citing West Virginia, 90 F.4th
              at 331; Texas, 2023 WL 7204840, at *1; Order,
              Kentucky, No.23-3216, Dkt.39-2; Arkansas, No. 23-
              1320 (8th Cir. Apr. 25, 2023)).

                   The Fifth Circuit decided the issue first, holding
              that EPA’s disapprovals are locally or regionally
              applicable    actions    under     Section    307(b)(1),
              notwithstanding the fact that EPA “packaged the[ ]
              disapprovals together with the disapprovals of [ ]
              other States” in a single Federal Register notice.
              Texas, 2023 WL 7204840, at *3–6. “[T]he CAA makes
              clear that the EPA’s relevant actions for purposes of”
              determining the appropriate venue under Section
              307(b)(1) “are its various SIP denials.” Id. at *4. The
              Fifth Circuit also rejected EPA’s alternative
              argument that venue is proper in the D.C. Circuit
              under Section 307(b)(1)’s third sentence, concluding
              that the “SIP disapprovals at issue here were plainly
              based on a number of intensely factual
              determinations unique to each State,” not on “a
              determination of nationwide scope or effect.” Id. at *5
              (citations omitted). This holding follows from the
              Fifth Circuit’s previous decision in Texas v. EPA, 829
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              F.3d 405 (5th Cir. 2016), where it similarly held that
              EPA’s disapprovals of Oklahoma’s and Texas’s
              regional-haze SIPs were not “based on any
              determinations that have nationwide scope or
              effect”—and thus were properly challenged in the
              regional circuit, not the D.C. Circuit—because EPA
              based those disapprovals on “a number of intensely
              factual determinations.”     Id. at 419–24.     Judge
              Douglas dissented from the Fifth Circuit’s venue
              holding, taking the same approach that the Tenth
              Circuit later adopted in this case. Texas, 2023 WL
              7204840, at *11–13 (Douglas, J., dissenting).

                   The Fourth Circuit has taken the same approach
              to the Fifth Circuit on the Question Presented,
              issuing a published opinion after holding oral
              argument. West Virginia, 90 F.4th 323. The Fourth
              Circuit held that EPA’s disapprovals of each State’s
              SIP “was based entirely on [each State’s] particular
              circumstances      and    its    analysis     of   those
              circumstances,” meaning those disapprovals were
              “locally or regionally applicable.”         Id. at 329
              (Niemeyer, J., joined by Quattlebaum, J.) (referencing
              West Virginia’s SIP, in particular). Thus, “the
              relevant agency action” for Section 307(b)(1) purposes
              is “EPA’s disapproval of [each State’s] SIP[,] [a]nd the
              fact that the EPA consolidated its disapprovals in a
              single final rule does not, by that fact alone, make its
              21 separate decisions included within its final rule
              either a single nationally applicable action or one
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              based on a determination of nationwide scope or
              effect.” Id. at 330. Finally, Section 307(b)(1) “does not
              focus on whether national standards were applied,”
              but rather on “whether the final action is nationally
              applicable”; otherwise “there never could be a local or
              regional action . . . because every action of the EPA
              purportedly applies a national standard created by
              the national statute and its national regulations.” Id.
              at 329–30.      Judge Thacker dissented, generally
              taking the same view as the Tenth Circuit on the
              Question Presented.          Id. at 332–35 (Thacker,
              J., dissenting).

                   The Sixth Circuit has taken the same approach as
              the Fourth and Fifth Circuits. Order, Kentucky,
              No.23-3216, Dkt.39-2. It too concluded that the
              “relevant unit of administrative action here is EPA’s
              individual SIP denials” and that EPA’s “packag[ing]”
              of each State’s disapproval with other States “doesn’t
              matter.” Id. at 4 (McKeague & Nalbandian, JJ.)
              (referencing Kentucky’s SIP, in particular). Further,
              it concluded that each SIP disapproval was locally or
              regionally applicable “[b]ecause the denial and legal
              impact of [each State’s] SIP affects only [that State].”
              Id. at 5. Finally, the Sixth Circuit rejected EPA’s
              claim that the SIP disapprovals were “based on a
              determination of nationwide scope or effect.” Id. at 5–
              6. Judge Cole dissented, and he too took similar views
              as the Tenth Circuit on the Question Presented. Id.
              at 10–19 (Cole, J., dissenting).
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                  Finally, the Eighth Circuit also rejected EPA’s
              Section 307(b)(1) venue arguments in cases
              challenging     individual    ozone-transport      SIP
              disapprovals, unlike the Tenth Circuit. The Eighth
              Circuit issued multiple separate orders for each State,
              without providing substantive analysis. See, e.g.,
              Arkansas,     No.23-1320    (8th    Cir.    Apr.    25,
              2023); Missouri, 23-1719 (8th Cir. May 26,
              2023); Allete, No. 23-1776 (8th Cir. May 26, 2023)
              (Minnesota); supra pp.18–19.

              II. It Is Imperative That This Court Decide The
                  Question Presented Now, Just As It Did In
                  Analogous Circumstances In National
                  Association Of Manufacturers

                  The Question Presented is unquestionably of
              national “importance,” as “determining the locus of
              judicial review of the actions of EPA” under Section
              307(b)(1), Harrison, 446 U.S. at 586, is essential to
              the orderly and timely resolution of challenges to EPA
              decisions on SIPs. Further, the Court should resolve
              this important venue issue now, before the D.C.
              Circuit adjudicates Petitioners’ challenges to the
              disapprovals of Utah’s SIP and Oklahoma’s SIP, just
              as this Court resolved a similar jurisdictional dispute
              in a similar posture in NAM in 2018.

                  A. Whether EPA’s disapproval of a SIP is a locally
              or regionally applicable action challengeable in the
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              appropriate regional circuit or may be transformed
              into a nationally applicable action challengeable only
              in the D.C. Circuit through EPA’s packaging the
              disapproval with other SIP denials in a single Federal
              Register notice, while using an allegedly consistent
              methodology, is an important question that this Court
              should answer. Sup. Ct. R. 10(a).

                  This Court has already recognized in the context
              of Section 307(b)(1), the same provision at issue here,
              that questions over “the locus of judicial review of the
              actions of EPA” are sufficiently “important[t]” to
              justify this Court’s review. Harrison, 446 U.S. at 586.
              Congress has the power to decide the method for
              challenging EPA action in the lower federal courts,
              including by determining which circuit is the proper
              venue to hear such challenges. See id. at 592–93. So,
              when disputes over the proper interpretation of
              statutes like Section 307(b)(1) arise, this Court “must
              determine what Congress intended,” out of the
              respect      owed     to   congressional      authority.
              See id. at 593.

                   States and others challenging SIP disapprovals
              (or approvals) need to know where they may challenge
              these EPA actions. States must submit SIPs to EPA
              every time EPA promulgates a new NAAQS, and EPA
              must review each of its six NAAQS every five years to
              determine whether a new, more-stringent standard is
              necessary. See 42 U.S.C. §§ 7409, 7410(a)(1); EPA,
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              NAAQS Table (last updated Feb. 7, 2024).6 States
              must also submit SIPs to EPA to comply with the
              CAA’s “Regional Haze Program,” which has spawned
              dozens of individual SIP cases across the country.
              42 U.S.C. §§ 7410(a)(2)(D)(II), 7491; EPA, Regional
              Haze Program (last updated Apr. 20, 2023).7 And
              States must seek EPA approval for any SIP revisions
              needed to implement newly adopted regulations. 42
              U.S.C. § 7410(k)(5). Thus, the question of venue for
              challenging SIP disapprovals or approvals is of great
              practical importance for many future EPA actions.

                  Parties knowing at the outset in which federal
              court to bring their lawsuits, including challenges to
              EPA actions on SIPs, is essential to the orderly and
              timely resolution of federal-court litigation. That is
              why, for example, the Federal Rules of Civil
              Procedure provide that a responding party must raise
              objections to venue at the earliest stages of a case, or
              else waive such venue challenges. See Fed. R. Civ.
              P. 12(h)(1) (referencing Fed. R. Civ. P. 12(b)(3),
              among other subsections). A lack of clarity over
              procedural matters like “the preliminary question of
              venue,” Mercantile Nat’l Bank at Dallas v. Langdeau,


                    Available at https://www.epa.gov/criteria-air-pollutants
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              /naaqs-table (all websites last visited Mar. 27, 2024).
                     7 Available at https://www.epa.gov/visibility/regional-haze-

              program.
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              371 U.S. 555, 558 (1963), “eat[s] up time and money
              as the parties litigate, not the merits of their claims,
              but which court is the right court to decide those
              claims,” Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010)
              (citation omitted); see also Navarro Sav. Ass’n v. Lee,
              446 U.S. 458, 464 n.13 (1980). Without such clarity,
              courts may be overburdened with venue-transfer
              motions, while also risking reversal on non-merits
              grounds on appeal after the conclusion of proceedings
              in the original federal court. See Hertz Corp., 559 U.S.
              at 94; Mercantile Nat’l Bank, 371 U.S. at 558.

                  The ongoing litigation occurring in circuits across
              the country over EPA’s disapprovals of twelve ozone-
              transport SIPs powerfully demonstrates the
              importance of the Question Presented. In each of
              these cases, States and/or their industries challenged
              EPA’s individual SIP disapprovals in seven different
              regional circuits, under Section 307(b)(1)’s second
              sentence. Supra pp.16–21. Then, EPA requested that
              each of these seven regional circuits transfer the
              petitions    to    the     D.C. Circuit,    prompting
              corresponding oppositions from each of the twelve
              States and their industry challengers. Supra pp.16–
              21. Several of these circuit courts have had to spend
              considerable resources adjudicating a hotly contested
              dispute over “the preliminary question of venue.”
              Mercantile Nat’l Bank, 371 U.S. at 558; accord Hertz
              Corp., 559 U.S. at 94; Navarro Sav. Ass’n, 446 U.S.
              at 464 n.13. And if any of these regional circuits
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              incorrectly decide this venue question under Section
              307(b)(1), the parties risk subsequent reversal on
              these non-merits grounds after the conclusions of the
              merits proceedings on the petitions. Mercantile Nat’l
              Bank, 371 U.S. at 558.

                   The extensive proceedings in the present case are
              particularly illustrative of the harms that parties and
              courts suffer from the lack of clarity as to proper
              venue. Petitioners, Utah, Oklahoma, and EPA fully
              briefed the venue question during motions practice
              before the Tenth Circuit, and then the Tenth Circuit
              deferred ruling on that issue and issued stays without
              mentioning the question of venue. Supra pp.13–16.
              Meanwhile, Petitioners, Utah, and Oklahoma
              litigated with EPA over their protective petitions for
              review filed in the D.C. Circuit, with EPA attempting
              to force litigation on the merits in the D.C. Circuit
              even though these parties only filed there
              protectively. Supra pp.13–16. The parties in the
              Tenth Circuit then fully briefed the complex merits of
              Petitioners’ challenges, as well as re-briefing the
              venue question, only to have the Tenth Circuit order
              transfer of venue to the D.C. Circuit one month before
              the Tenth Circuit was set to hear oral argument.
              Supra pp.13–16, 21–22.

                 Finally, this Court’s review of the Question
              Presented is also important to uphold the choice of
              Congress in Section 307(b)(1) to empower the States
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              and others to challenge EPA’s SIP denials
              individually in their local, regional circuit, rather
              than funneling all such challenges en masse to the
              D.C. Circuit for treatment as a national issue. See 42
              U.S.C. § 7607(b)(1). With Section 307(b)(1), Congress
              empowered challengers of EPA’s SIP denials to bring
              their challenges to the appropriate regional circuit,
              not the D.C. Circuit, thus allowing fulsome circuit-
              court review of individual SIPs and leveraging the
              regional circuits’ comparative expertise vis-à-vis the
              D.C. Circuit over the local/regional issues inherent in
              such SIP denials. Accord Texas, 2023 WL 7204840,
              at *4; 42 U.S.C. § 7401(a)(3) (“[A]ir pollution . . . at its
              source is the primary responsibility of States and local
              governments[.]”). This is an important procedural
              right under the CAA, given the frequency with which
              the Act requires States to submit SIPs to EPA for
              approval and EPA’s obligation to approve all SIPs
              that meet CAA requirements, as discussed above.
              Supra pp.6–7, 28–29.

                  B. It is imperative that this Court resolve the
              Question Presented now, rather than after a merits
              ruling on Petitioners’ petitions in the D.C. Circuit,
              given the delay and waste of litigation resources
              caused by the circuit split here, as well as the
              unfairness of forcing litigation over the disapprovals
              of only Utah’s and Oklahoma’s ozone-transport SIPs
              into the D.C. Circuit, while other States and their
              supporting industries get to litigate in their regional
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              circuits, as is their statutory right. See Harrison, 446
              U.S. at 586 (granting certiorari review before final
              judgment to review dispute over Section 307(b)(1)).

                  The context of this circuit split, arising out of
              ongoing litigation over EPA’s disapprovals of twelve
              States’ ozone-transport SIPs, calls out for this Court’s
              immediate review.       Unless this Court grants
              immediate review of the Tenth Circuit’s venue
              decision, only the disapprovals of Utah’s SIP and
              Oklahoma’s SIP will, in all likelihood, be reviewed by
              the D.C. Circuit, while the ozone-transport SIP
              disapprovals for ten other States will be reviewed by
              the appropriate regional circuits. See supra pp.13–22.
              So, unless this Court resolves the circuit split now,
              either the important CAA rights of two States or of
              ten States will be adjudicated in the wrong federal
              forum under Section 307(b)(1).

                   In this respect, the Question Presented is
              analogous to the situation that this Court faced in
              NAM. There, this Court resolved a dispute over
              “which federal court” had jurisdiction over challenges
              to an EPA rule under the Clean Water Act: the circuit
              courts, or the district courts. NAM, 583 U.S. at 113–
              14. As the Court explained, under the Administrative
              Procedure Act, parties may generally file challenges
              to final EPA actions in the federal district courts. Id.
              at 114. But the Clean Water Act contains its own
              judicial-review provision that “enumerates seven
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              categories of EPA actions for which review lies
              directly and exclusively in the federal courts of
              appeals.”      Id. (citation omitted). After EPA
              promulgated the rule at issue, various parties
              challenged it both in the federal district courts and—
              due to “[u]ncertainty” over the Clean Water Act’s
              judicial-review provision—in various Courts of
              Appeals. Id. at 119. The Sixth Circuit (in which the
              circuit-court challenges had been consolidated, 28
              U.S.C. § 2112(a)(3)) held that the circuit courts had
              original jurisdiction over such challenges by denying
              motions to dismiss for lack of jurisdiction, while one
              district court had concluded that the district courts
              had original jurisdiction. Id. at 119–20 (also noting
              that other district courts had taken the Sixth Circuit’s
              view). This Court granted certiorari to review the
              Sixth Circuit’s interlocutory order denying the
              motions to dismiss for improper venue, and thereafter
              settled the division between the Sixth Circuit and a
              district court over the correct federal court to hear
              challenges to EPA’s rule. Id. at 113–20. Further, the
              Court determined to resolve this split even after EPA
              proposed to rescind the rule at issue. Id. at 120 n.5.

                  Like in NAM, the Question Presented here asks
              “which federal court” may hear challenges to certain
              actions by the EPA, id. at 113–14, either the
              appropriate regional circuit or the D.C. Circuit,
              42 U.S.C. § 7607(b)(1). And, like in NAM, there is a
              division of authority over this question—although the
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              division of authority in this case is even clearer than
              in NAM, as here multiple circuits have divided over
              the Question Presented. See Sup. Ct. R. 10(a).

              III. The Tenth Circuit Wrongly Decided The
                   Question Presented

                  A. Petitioners’ challenges to EPA’s disapprovals of
              Utah’s SIP and Oklahoma’s SIP belong in the Tenth
              Circuit—“the appropriate circuit”—because those
              EPA actions are only “locally or regionally applicable”
              under Section 307(b)(1)’s second sentence, while
              Section 307(b)(1)’s third sentence does not alter the
              applicable-venue analysis. 42 U.S.C. § 7607(b)(1).

                   The “relevant actions” for purposes of Section
              307(b)(1)’s venue analysis are EPA’s “various SIP
              denials.” Texas, 2023 WL 7204840, at *4; see also
              West Virginia, 90 F.4th at 330; Order at 3–4,
              Kentucky, No.23-3216, Dkt.39-2. That is because the
              CAA provides that EPA must approve or disapprove
              “each State’s SIP.” Texas, 2023 WL 7204840, at *4
              (citing 42 U.S.C. § 7410(k)(3)); see also West Virginia,
              90 F.4th at 330 (Section 7410(k)(3)’s use of “‘plan’ in
              the singular” indicates that EPA “acts on each plan”);
              Order at 3–4, Kentucky, No.23-3216, Dkt.39-2. That
              is what EPA did here: it “separately considered and
              disapproved” each SIP. Texas, 2023 WL 7204840,
              at *4 (emphasis omitted); see also West Virginia, 90
              F.4th at 330.       For example, for Utah’s SIP
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              disapproval, EPA considered and rejected Utah’s
              reliance on “contributions from other sources,
              including    international    or   non-anthropogenic
              emissions,” to Colorado, concluding that these did not
              “excuse Utah from addressing its own significant
              contribution to nonattainment or interference with
              maintenance at downwind areas.” 87 Fed. Reg.
              at 31,482; 88 Fed. Reg. at 9,359–60 (incorporating
              these conclusions).      And for Oklahoma’s SIP
              disapproval, EPA determined that the regional
              modeling cited by Oklahoma was “technically flawed”
              and rejected Oklahoma’s analysis of site-specific
              factors impacting attainment at downwind receptors.
              88 Fed. Reg. at 9,359–60.

                   EPA’s decisions on submitted SIPs—including a
              disapproval of a SIP—“are the prototypical locally or
              regionally applicable action that may be challenged
              only in the appropriate regional court of appeals,” as
              courts have long held. Texas, 2023 WL 7204840, at *4
              (citations omitted); see also, e.g., Am. Rd. & Transp.
              Builders Ass’n v. EPA, 705 F.3d 453, 455 (D.C. Cir.
              2013) (Kavanaugh, J.); Order at 5, Kentucky, No.23-
              3216, Dkt.39-2. Section 307(b)(1)’s second sentence
              itself recognizes this, as it provides that a “petition for
              review of the Administrator’s action in approving or
              promulgating any implementation plan under section
              7410 of this title”—the Section governing SIPs—“or
              any other final action of the Administrator . . . which
              is locally or regionally applicable may be filed only in
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              the United States Court of Appeals for the
              appropriate circuit.” 42 U.S.C. § 7607(b)(1) (emphasis
              added); see Am. Rd. & Transp. Builders Ass’n, 705
              F.3d at 455 (Kavanaugh, J.).

                  EPA’s disapprovals of the States’ SIPs in the
              Federal Register notice here, including Utah’s SIP
              and Oklahoma’s SIP, belong to the prototypical
              category of SIP denials and so are locally or regionally
              applicable actions. Texas, 2023 WL 7204840, at *4;
              West Virginia, 90 F.4th at 328–31; Order at 4–5,
              Kentucky, No.23-3216, Dkt.39-2. EPA’s disapprovals
              of Utah’s SIP and Oklahoma’s SIP involve only the
              regulation of Utah and Oklahoma emissions sources.
              Texas, 2023 WL 7204840, at *5; Order at 5, Kentucky,
              No.23-3216, Dkt.39-2. EPA disapproved the SIPs by
              assessing “the local and regional circumstances of
              each of the 21 States” and based the disapprovals on
              those circumstances, while “giving a unique mixture
              of reasons for each rejection, even though some of the
              individual reasons overlapped.” West Virginia, 90
              F.4th at 330 (emphasis omitted); see also id. at 328–
              29 (“[EPA] focused on the data particular to [each
              State] and the analyses that [each State] conducted
              with respect to those state-specific data”); 88 Fed.
              Reg. at 9,340, 9,354 (“[EPA assessed each SIP] in light
              of the facts and circumstances of each particular
              state’s submission”; “the contents of each individual
              state’s submission were evaluated on their own
              merits”). That is why, in denying Utah’s SIP and
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              Oklahoma’s SIP, EPA directed parties to “consult”
              EPA’s previous individually issued, state-specific
              proposed disapprovals for the basis for each SIP
              disapproval. 88 Fed. Reg. at 9,359–60.

                   Finally, EPA’s alternative determination under
              Section 307(b)(1)’s third sentence that the
              disapprovals of Utah’s SIP and Oklahoma’s SIP were
              “based on a determination of nationwide scope or
              effect,” 42 U.S.C. § 7607(b)(1); 88 Fed. Reg. at 9,380–
              81, is invalid. Thus, Section 307(b)(1)’s third sentence
              does not change the appropriate venue here. Texas,
              2023 WL 7204840, at *5; West Virginia, 90 F.4th
              at 328–31; Order at 5–6, Kentucky, No.23-3216,
              Dkt.39-2. Again, SIP disapprovals are “usually highly
              fact-bound and particular to the individual State,”
              rather than based on a determination of nationwide
              scope or effect, given the Clean Air Act’s requirement
              that EPA separately approve or disapprove each SIP.
              Texas, 2023 WL 7204840, at *5 (citations omitted); see
              Order at 5–6, Kentucky, No.23-3216, Dkt.39-2; 42
              U.S.C. § 7410(k)(3).        And here, EPA’s SIP
              disapprovals were “based on a number of intensely
              factual determinations unique to each State,” not on
              a determination of nationwide scope or effect. Texas,
              2023 WL 7204840, at *5 (citations omitted); see West
              Virginia, 90 F.4th at 328–31; Order at 5–6, Kentucky,
              No.23-3216, Dkt.39-2. EPA explained here that it
              considered each SIP “in light of the facts and
              circumstances of each particular state’s submission,”
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              Texas, 2023 WL 7204840, at *5 (emphasis omitted)
              (quoting 88 Fed. Reg. at 9,340); see West Virginia, 90
              F.4th at 329; Order at 6, Kentucky, No.23-3216,
              Dkt.39-2. There was no new nationwide rule or
              “determination” being applied in the final Federal
              Register notice. EPA merely incorporated its separate
              and state-specific proposed disapprovals into that
              single publication. West Virginia, 90 F.4th at 330–31;
              Order       at     6,     Kentucky,       No.23-3216,
              Dkt.39-2.

                  B. The Tenth Circuit held that EPA’s
              disapprovals of Utah’s SIP and Oklahoma’s SIP were
              nationally applicable under Section 307(b)(1) because
              the single Federal Register notice contained two
              “features”: EPA disapproved “SIPs from 21 states
              across the country,” and EPA “applied a uniform
              statutory interpretation and common analytical
              methods.” Pet.App.11a. But neither of these features
              make EPA’s disapprovals nationally applicable under
              Section 307(b)(1).

                  EPA’s chosen method of publishing or labeling the
              action—whether out of administrative convenience,
              its desire to choose the litigation forum, or for some
              other reason—does “not define the relevant ‘action’ for
              § 7607(b)(1)’s purposes” and “isn’t controlling” on the
              question of whether EPA’s action is nationally
              applicable or locally/regionally applicable. Texas,
              2023 WL 7204840, at *3 n.3, *4 (citations omitted); see
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              Fed. R. App. 15 (a)(2)(C) (providing that parties may
              challenge only “part” of an agency’s “order”). Instead,
              the “relevant agency action” here for purposes of
              Section 307(b)(1) is EPA’s disapproval of each SIP,
              West Virginia, 90 F.4th at 330, given the source of
              EPA’s authority under the CAA, Texas, 2023 WL
              7204840, at *4; 42 U.S.C. § 7410(k)(3); Order at 3–4,
              Kentucky, No.23-3216, Dkt.39-2. The Tenth Circuit,
              with all respect, did not adequately consider the
              import of EPA’s statutory source of authority here,
              even as it addressed the Fourth, Fifth, and Sixth
              Circuits’ decisions on different points.            See
              Pet.App.11a–17a.

                   Second, the Section 307(b)(1) analysis does not
              turn on whether EPA “applied a uniform and
              nationally consistent approach to the SIPs that it
              disapproved.”    West Virginia, 90 F.4th at 329
              (citations omitted). EPA must generally apply a
              consistent approach or methodology in acting on
              SIPs—after all, an “[u]nexplained inconsistency”
              would render those actions unlawfully arbitrary.
              Nat’l Cable & Telecomm. Ass’n v. Brand X Internet
              Servs., 545 U.S. 967, 981 (2005) (quoting Motor
              Vehicle Mfrs. Assn. of United States, Inc. v. State
              Farm Mut. Automobile Ins. Co., 463 U.S. 29, 46–57
              (1983)). Thus, the claimed consistency of EPA’s
              approach to reviewing SIPs is routine and does not
              affect the appropriate venue for actions that turn on
              local facts and circumstances and involve the
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              application of individual state discretion and
              judgment. Section 307(b)(1) “does not focus on
              whether national standards were applied,” but rather
              on “whether the final action is nationally applicable,
              as opposed to locally or regionally applicable.” West
              Virginia, 90 F.4th at 329. Indeed, “if application of a
              national standard to disapprove a plan were the
              controlling factor, there never could be a local or
              regional action . . . because every action of the EPA
              purportedly applies a national standard.”           Id.
              Regardless, EPA’s review of an individual SIP, in
              particular, will necessarily be locally or regionally
              applicable, even if EPA applies a claimed uniform
              standard, given the state-specific nature both of SIPs
              and of the CAA’s grant of authority to the States. See
              42 U.S.C. § 7410(k)(3). EPA’s analyses of Utah’s SIP
              and Oklahoma’s SIP here are cases in point, as EPA
              relied upon intensely local or regional considerations
              to disapprove these SIPs. Supra pp.37–38.

                                   CONCLUSION

                     This Court should grant the Petition.
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